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                        UNITED STATES COURT OF APPEAL
                    FOR THE DISTRICT OF COLUMBIA CIRCUIT


 COLUMBUS ELECTRIC                                   Case No. 23-1158
 COOPERATIVE, INC.,

              Petitioner,                            PETITION FOR REVIEW

       v.

 INTERNATIONAL BROTHERHOOD OF
 ELECTRICAL WORKERS, LOCAL 611,
 AFL-CIO,

              Respondent.

      Pursuant to Section 10(f) of the National Labor Relations Act, 29 U.S.C. § 160(f),
and Fed. R App. P. 15(a), Columbus Electric Cooperative, Inc. (“CEC”), hereby petitions
the Court for review and set aside the National Labor Relations Board’s Decision and Order
in Columbus Electric Cooperative, Inc., NLRB Case Number Case 28-CA-285046 as
reported in a Decision and Order at 372 NLRB No. 89 dated June 8, 2023 and served on
CEC on June 8, 2023. A copy of the Decision and Order is attached as Exhibit A.
      The Court has jurisdiction in this matter pursuant to Section 10(f) of the National
Labor Relations Act (“Act”) because the NLRB’s Decision and Order is a final order. See
29 U.S.C. § 160(f). CEC is a party aggrieved by said Decision and Order. Section 10(f)
expressly authorizes an appeal of the NLRB’s Decision and Order in the United States
Court of Appeals for the District of Columbia.
      WHEREFORE, CEC prays that its Petition for Review of the Board’s Decision and
Order be granted; that upon such review the Board’s Decision and Order be set aside and
denied enforcement; and that CEC be granted whatever other and further relief as the Court
deems appropriate. CEC is also filing a Corporate Disclosure Statement herewith.




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Dated: June 20, 2023
                                   Respectfully submitted,

                                   JACKSON LEWIS P.C.

                                   By:     /s/ Alan M. Bayless Feldman
                                           Alan M. Bayless Feldman (AZ Bar No.
                                           019074, TX Bar No. 24050051)
                                           JACKSON LEWIS P.C.
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                                   By:     /s/ Danny W. Jarrett
                                           Danny W. Jarrett (NM Bar 8982)
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                                           Suite 150
                                           Albuquerque, NM 87102
                                           Telephone: (505) 878-0515
                                           Email: Danny.Jarrett@jacksonlewis.com
                                           (Motion Forthcoming)

                                           Attorneys for Respondent
                                           Columbus Electric Cooperative, Inc.




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                                CERTIFICATE OF SERVICE
         I hereby certify that, on June 20, 2023, I electronically filed the foregoing PETITION

FOR REVIEW with the Clerk of the Court using the CM/ECF system. I further certify that on

June 20, 2023 a true and correct copy of the foregoing PETITION FOR REVIEW was served

on the following individuals addressed to them at the following address.

COPIES emailed this same date to:
Ruth E. Burdick, Appellate and Supreme Court Litigation Branch
Jennifer Abruzzo, General Counsel
Roxanne L. Rothschild, Executive Secretary
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/s/ Amalia Tafoya
4865-0229-7194, v. 1


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                         UNITED STATES COURT OF APPEAL
                    FOR THE DISTRICT OF COLUMBIA CIRCUIT

 COLUMBUS ELECTRIC                                    Case No. 23-1158
 COOPERATIVE, INC.,

               Petitioner,                            PETITIONER’S
                                                      CORPORATE DISCLOSURE
       v.                                             STATEMENT
 INTERNATIONAL BROTHERHOOD OF
 ELECTRICAL WORKERS, LOCAL 611,
 AFL-CIO,

               Respondent.

      Pursuant to Federal Rule of Appellate Procedure 26.1(a) and Circuit Rule 26.1,
Petitioner Columbus Electric Cooperative, Inc. a New Mexico corporation, hereby states
that it has no parent corporation and that none of its stock is owned by a publicly-held
corporation.

Dated: June 20, 2023
                                         Respectfully submitted,

                                         JACKSON LEWIS P.C.

                                         By:     /s/ Alan M. Bayless Feldman
                                                 Alan M. Bayless Feldman (AZ Bar No.
                                                 019074, TX Bar No. 24050051)
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                                                 Email: Alan.Feldman@jacksonlewis.com

                                         By:     /s/ Danny W. Jarrett
                                                 Danny W. Jarrett (NM Bar 8982)
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                                                 Email: Danny.Jarrett@jacksonlewis.com
                                                 (Motion Forthcoming)
                                                 Attorneys for Respondent
                                                 Columbus Electric Cooperative, Inc.


                                            1
USCA Case #23-1158          Document #2004297              Filed: 06/20/2023     Page 5 of 34

                               CERTIFICATE OF SERVICE
         I hereby certify that, on June 20, 2023, I electronically filed the foregoing

PETITIONER’S CORPORATE DISCLOSURE STATEMENT with the Clerk of the Court

using the CM/ECF system. I further certify that on June 20, 2023 a true and correct copy of the

foregoing PETITIONER’S CORPORATE DISCLOSURE STATEMENT was served on the

following individuals addressed to them at the following address.

COPIES emailed this same date to:
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/s/ Amalia Tafoya
4876-4727-7162, v. 1


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                      EXHIBIT A
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     NOTICE: This opinion is subject to formal revision before publication in the
        bound volumes of NLRB decisions. Readers are requested to notify the Ex-
        ecutive Secretary, National Labor Relations Board, Washington, D.C.
                                                                                         In its exceptions, the Respondent contends that it did not engage in
        20570, of any typographical or other formal errors so that corrections can   overall bad-faith bargaining and cites several cases in support of its
        be included in the bound volumes.                                            position, but we find those cases distinguishable on their facts from the
                                                                                     instant case. See, e.g., District Hospital Partners, L.P. d/b/a The
Columbus Electric Cooperative, Inc. and Internation-                                 George Washington University Hospital, 370 NLRB No. 118, slip op.
    al Brotherhood of Electrical Workers, Local                                      at 3, 5, 7 fn. 20 (2021) (no bad-faith bargaining where employer signif-
    611, AFL–CIO. Case 28–CA–285046                                                  icantly modified its initial proposals, including withdrawing its no-
                                                                                     strike proposal), remanded sub nom. 1199SEIU United Healthcare
                   June 8, 2023                                                      Workers East v. NLRB, 2022 U.S. App. LEXIS 1540 (D.C. Cir. 2022);
                                                                                     Audio Visual Services Group, Inc. d/b/a PSAV Presentation Services,
                    DECISION AND ORDER                                               367 NLRB No. 103, slip op. at 1–2, 7–8 (2019) (no bad-faith bargain-
                                                                                     ing where employer’s proposals included an arbitration provision and
   BY CHAIRMAN MCFERRAN AND MEMBERS WILCOX                                           the employer demonstrated its willingness to make disciplinary and
                       AND PROUTY                                                    management-rights-related concessions), affd. sub nom. International
   On September 19, 2022, Administrative Law Judge                                   Alliance of Theatrical Stage Employees, Local 15 v. NLRB, 957 F.3d
                                                                                     1006 (9th Cir. 2020); Oklahoma Fixture Co., 331 NLRB 1116, 1118–
Jeffrey D. Wedekind issued the attached decision. The                                1119 (2000) (employer’s insistence on eliminating a union hiring hall
Respondent and the General Counsel each filed excep-                                 provision and willingness to make concessions to achieve it did not
tions, a supporting brief, an answering brief, and a reply                           constitute bad-faith bargaining), enfd. 332 F.3d 1284 (10th Cir. 2003)
brief.                                                                               (en banc); Formosa Plastics Corp., Louisiana, 320 NLRB 631, 659
                                                                                     (1996) (judge found no bad-faith bargaining where employer’s bargain-
   The National Labor Relations Board has delegated its                              ing strategy was deemed “to be one of progressive concessions,” in-
authority in this proceeding to a three-member panel.                                cluding willingness to agree to binding arbitration); Coastal Electric
   The Board has considered the decision and the record                              Cooperative, 311 NLRB 1126, 1127 (1993) (no bad-faith bargaining
in light of the exceptions and briefs and has decided to                             where employer did not insist on a no-strike clause and made bargain-
                                                                                     ing concessions); Reichhold Chemicals, 288 NLRB 69, 70-71 (1988)
affirm the judge’s rulings, findings,1 and conclusions,2 to                          (no bad-faith bargaining where employer made bargaining concessions
                                                                                     leading to agreements on grievance procedure, arbitration, subcontract-
   1 The Respondent has excepted to some of the judge’s credibility
                                                                                     ing, and layoffs provisions), enfd. in relevant part sub nom. Teamsters
findings. The Board’s established policy is not to overrule an adminis-              Local 515 v. NLRB, 906 F.2d 719 (D.C. Cir. 1990); Atlanta Hilton &
trative law judge’s credibility resolutions unless the clear preponder-              Tower, 271 NLRB 1600, 1603 (1984) (employer’s insistence on a 1-
ance of all the relevant evidence convinces us that they are incorrect.              year extension of the existing agreement did not itself constitute bad-
Standard Dry Wall Products, 91 NLRB 544 (1950), enfd. 188 F.2d 362                   faith bargaining); Arkansas Louisiana Gas Co., 154 NLRB 878, 886–
(3d Cir. 1951). We have carefully examined the record and find no                    888 (1965) (employer’s broad management-rights clause proposal did
basis for reversing the findings.                                                    not demonstrate bad faith where certain aspects of the clause were
   In finding that the Respondent violated Sec. 8(a)(5) and (1) of the               subject to grievance and arbitration procedures); NLRB v. Crockett-
Act by engaging in overall bad-faith bargaining, the judge properly                  Bradley, Inc., 598 F.2d 971, 974 (5th Cir. 1979) (same). Chairman
relied on a number of factors. See, e.g., Mid-Continent Concrete, 336                McFerran adheres to her dissenting positions in The George Washing-
NLRB 258, 259 (2001) (“In determining whether an employer has                        ton Hospital, supra, and PSAV Presentation Servs., supra, but agrees
engaged in overall bad-faith bargaining, the Board examines the totality             with her colleagues that those cases are factually distinguishable from
of the employer’s conduct, both at and away from the bargaining ta-                  the instant case.
ble.”), enfd. sub nom. NLRB v. Hardesty Co., 308 F.3d 859 (8th Cir.                      In joining her colleagues’ overall bad-faith bargaining finding,
2002). Specifically, as detailed in his decision, the judge found bad-               Member Wilcox notes that the Respondent’s proposals would have left
faith bargaining based on the following conduct by the Respondent:                   the employees with substantially fewer rights and less protection than
failure to timely respond to the Union’s requests to begin negotiations;             provided by law without a contract. See Public Service Co. of Oklaho-
insistence on recording the parties’ first bargaining session; refusing to           ma (PSO), 334 NLRB 487, 489 (2001), enfd. 318 F.3d 1173 (10th Cir.
bargain pending resolution of the Union’s unfair labor practice charges;             2003).
making proposals that deprived the Union of its representative role,                     The General Counsel excepted to the judge’s finding that the Re-
including insisting on broad management- rights and no-strike provi-                 spondent’s bargaining proposals did not constitute an independent
sions and reserving to the Respondent final authority on adverse em-                 violation of Sec. 8(a)(5) and (1). We find it unnecessary to pass on the
ployment actions, thereby precluding independent review by an arbitra-               judge’s finding because it would not materially affect the remedy.
tor; making regressive bargaining proposals on matters such as 401(k)                    In joining her colleagues in affirming the judge’s additional finding
contributions, disciplinary matrices, and grievance filing periods; mak-             that the Respondent violated Sec. 8(a)(5) and (1) by failing and refusing
ing and failing to revise inconsistent and incorrect proposals; and refus-           to provide requested information about its subcontracting, Member
ing to provide the Union with relevant requested information. We                     Wilcox notes that she would consider revisiting the Board’s framework
agree, for the reasons stated by the judge, that the totality of the Re-             for analyzing union requests for nonunit information in a future appro-
spondent’s conduct demonstrated overall bad-faith bargaining in viola-               priate proceeding.
tion of Sec. 8(a)(5) and (1). We further find that, because the Respond-                 2 In affirming the judge’s conclusion that the Respondent violated

ent did not bargain in good faith, the parties did not reach a valid bar-            Sec. 8(a)(5) and (1) by failing and refusing to bargain in good faith with
gaining impasse at the conclusion of their final negotiating session on              the Union, we note that the Sec. 10(b) period for this violation com-
December 4, 2021. See, e.g., U.S. Ecology Corp., 331 NLRB 223, 226                   menced on April 25, 2021, 6 months before the date of the filing of the
(2000) (finding no valid impasse existed because employer had not                    unfair labor practice charge and service on the Respondent, and not
bargained in good faith), enfd. 26 Fed.Appx. 435 (6th Cir. 2001).                    April 22, 2021, as referenced by the judge. We shall amend the judge’s
                                                                                     remedy and modify his recommended order in accordance therewith.



372 NLRB No. 89
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2                                DECISIONS OF THE NATIONAL LABOR RELATIONS BOARD


amend the remedy, and to adopt the recommended Order          gional Director for Region 28 a copy of each backpay
as modified and set forth in full below.                      recipient’s corresponding W-2 forms reflecting the back-
                    AMENDED REMEDY                            pay award.
                                                                 Having found that the Respondent violated Section
   Having found that the Respondent has engaged in cer-
                                                              8(a)(5) and (1) by failing and refusing to bargain with the
tain unfair labor practices, we shall order it to cease and
                                                              Union in good faith during first contract negotiations, the
desist and to take certain steps to effectuate the policies
                                                              judge recommended an affirmative bargaining order to
of the Act. With respect to the Respondent’s failure to
                                                              remedy this unlawful conduct. For the reasons set forth
bargain in good faith, for the reasons set forth by the
                                                              in Caterair International, 322 NLRB 64 (1996), we
judge, we order the Respondent to: (1) submit written
                                                              agree that an affirmative bargaining order is warranted in
progress reports to the NLRB Region 28 compliance
                                                              this case as a remedy for the Respondent’s unlawful fail-
officer, with service on International Brotherhood of
                                                              ure and refusal to bargain in good faith. The Board has
Electrical Workers, Local 611, AFL–CIO (Union), every
                                                              consistently held that an affirmative bargaining order is
30 calendar days until an agreement or good-faith im-
                                                              “the traditional, appropriate remedy for an 8(a)(5) refusal
passe is reached; (2) compensate the Union for all bar-
                                                              to bargain with the lawful collective-bargaining repre-
gaining expenses it has incurred from April 25, 2021
                                                              sentative of an appropriate unit of employees.” Id. at 68.
through December 4, 2021; and (3) provide the Union
                                                                 In several cases, however, the United States Court of
with the information it requested on October 4, 2021
                                                              Appeals for the District of Columbia Circuit has required
regarding the use of contractors to perform unit work.
                                                              that the Board justify, on the facts of each case, the im-
Specifically, we also amend the judge's remedy in the
                                                              position of such an order. See, e.g., Vincent Industrial
following respects.
                                                              Plastics v. NLRB, 209 F.3d 727, 738–740 (D.C. Cir.
   We order the Respondent to make whole any affected
                                                              2000); Lee Lumber & Building Material Corp. v. NLRB,
employee negotiators for any earnings lost while attend-
                                                              117      F.3d      1454,     1460–1462        (D.C.      Cir.
ing bargaining sessions, to the extent those earnings were
                                                              1997); Exxel/Atmos, Inc. v. NLRB, 28 F.3d 1243, 1248–
not reimbursed by the Union. See M.F.A. Milling Co.,
                                                              1249 (D.C. Cir. 1994). In Vincent, supra, 209 F.3d at
170 NLRB 1079, 1080 (1968), enfd. sub nom. Laborers
                                                              738, the court summarized its requirement that an af-
Local 676 v. NLRB, 463 F.2d 953 (D.C. Cir. 1972). We
                                                              firmative bargaining order “must be justified by a rea-
find this remedy appropriate under the circumstances in
                                                              soned analysis that includes an explicit balancing of three
order to make any affected employee-negotiators whole
                                                              considerations: (1) the employees’ [Section] 7 rights; (2)
for lost earnings resulting from the Respondent’s bad-
                                                              whether other purposes of the Act override the rights of
faith bargaining. Nexstar Broadcasting, Inc. d/b/a
                                                              employees to choose their bargaining representatives;
KOIN-TV, 371 NLRB No. 118, slip op. at 2–3 fn. 6
                                                              and (3) whether alternative remedies are adequate to
(2022). In this regard, backpay shall be computed in
                                                              remedy the violations of the Act.”
accordance with Ogle Protection Service, 183 NLRB 682
                                                                 Although we respectfully disagree with the court’s re-
(1970), enfd. 444 F.2d 502 (6th Cir. 1971), with interest
                                                              quirement for the reasons set forth in Caterair, supra, we
at the rate prescribed in New Horizons, 283 NLRB 1173
                                                              have examined the particular facts of this case as the
(1987), compounded daily as prescribed in Kentucky
                                                              court requires and find that a balancing of the three fac-
River Medical Center, 356 NLRB 6 (2010). Further, we
                                                              tors warrants an affirmative bargaining order.
shall order the Respondent to compensate the affected
                                                                 (1) An affirmative bargaining order in this case vindi-
employees for the adverse tax consequences, if any, of
                                                              cates the Section 7 rights of the unit employees, who
receiving a lump-sum backpay award, and to file with the
                                                              were denied the benefits of collective bargaining by the
Regional Director for Region 28, within 21 days of the
                                                              Respondent’s refusal to bargain in good faith with the
date the amount of backpay is fixed, either by agreement
                                                              Union. By refusing to bargain in good faith and thereby
or Board order, a report allocating the backpay award to
                                                              frustrating the possibility of securing a first contract, the
the appropriate calendar year(s) for each employee. Ad-
                                                              Respondent unlawfully deprived unit employees of the
voServ of New Jersey, Inc., 363 NLRB 1324 (2016). In
                                                              opportunity to obtain the stability and predictability such
accordance with our decision in Cascades Container-
                                                              an agreement would provide. At the same time, an af-
board Packaging–Niagara, 370 NLRB No. 76 (2021), as
                                                              firmative bargaining order, with its attendant bar to rais-
modified in 371 NLRB No. 25 (2021), we shall order the
                                                              ing a question concerning the Union’s continuing majori-
Respondent, within 21 days of the date the amount of
                                                              ty status for a reasonable time, does not unduly prejudice
backpay is fixed either by agreement or Board order, or
                                                              the Section 7 rights of employees who may oppose con-
such additional time as the Regional Director for Region
                                                              tinued union representation because the duration of the
28 may allow for good cause shown, to file with the Re-
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                                         COLUMBUS ELECTRIC COOPERATIVE, INC.                                                          3

order is no longer than is reasonably necessary to remedy      stantive proposals almost a year after certification and, as
the ill effects of the violation. To the extent such opposi-   the judge found, many of its proposals would have de-
tion exists, moreover, it may be, at least in part, the        prived the Union of its representational role and demon-
product of the Respondent’s failure and refusal to bar-        strated an intent to avoid or frustrate reaching any
gain in good faith.                                            agreement. For about 10 months thereafter, the Re-
   (2) An affirmative bargaining order also serves the         spondent refused to meaningfully revise its proposals and
policies of the Act by fostering meaningful collective         engaged in additional conduct demonstrating overall bad-
bargaining and industrial peace. That is, it removes the       faith bargaining. Under these circumstances, the Re-
Respondent’s incentive to delay bargaining in the hope         spondent effectively denied the Union its full opportunity
of further discouraging support for the Union. It also         to bargain during the entirety of the certification year.
ensures that the Union will not be pressured to achieve        See Northwest Graphics, Inc., 342 NLRB 1288, 1289
immediate results at the bargaining table following the        (2004), enfd. 156 Fed.Appx. 331 (D.C. Cir. 2005). The
Board’s resolution of its unfair labor practice charge and     Union is therefore entitled to a 12-month extension of the
the issuance of a cease-and-desist order. Under these          certification year from the time that the Respondent be-
circumstances, a reasonable period during which the Un-        gins to bargain in good faith. See Burrows Paper Corp.,
ion’s majority status cannot be challenged clearly fosters     332 NLRB 82, 82 fn. 3 (2000).3
meaningful collective bargaining.                                                       ORDER
   (3) A cease-and-desist order, alone, would be inade-
                                                                  The National Labor Relations Board orders that the
quate to remedy the Respondent’s unlawful failure and
                                                               Respondent, Columbus Electric Cooperative, Inc., Dem-
refusal to bargain in good faith because it would permit a
                                                               ing and Animas, New Mexico, its officers, agents, suc-
challenge to the Union’s majority status before the taint
                                                               cessors, and assigns, shall
of the Respondent’s unlawful conduct has dissipated, and
                                                                  1. Cease and desist from
before the employees have had a reasonable time to re-
                                                                  (a) Failing and refusing to recognize and bargain with
group and bargain through their representative in an ef-
                                                               International Brotherhood of Electrical Workers, Local
fort to reach a first contract. Such a result would be par-
                                                               611, AFL–CIO (Union) as the exclusive collective-
ticularly unjust in the circumstances presented here,
                                                               bargaining representative of the employees in the bar-
where the Respondent’s unlawful conduct frustrated any
                                                               gaining unit.
real progress toward achieving a collective-bargaining
agreement—for which unit employees, not privy to the               3 The General Counsel requests the Board to order a remedial bar-
Respondent’s conduct, would probably fault their bar-          gaining schedule. We decline to do so for the reasons set forth by the
gaining representative, at least in part—further tending to    judge. The General Counsel also requests that we adopt a compensato-
undermine the unit employees’ support for the Union.           ry remedy requiring the Respondent to make its employees whole for
                                                               the lost opportunity to bargain at the time and in the manner contem-
Thus, the Respondent’s failure to bargain in good faith        plated by the Act. To do so would require overruling Ex-Cell-O Corp.,
would likely have a continuing effect, tainting any em-        185 NLRB 107 (1970). We have previously severed and retained this
ployee disaffection from the Union for a period of time        issue for future consideration. See, e.g., Longmont United Hospital,
after the issuance of this decision and order. Moreover,       371 NLRB No. 162, slip op. at 2 (2022).
                                                                   To remedy the bad-faith bargaining violation, Member Prouty would
the imposition of a bargaining order would signal to em-       authorize, at the Union’s request, the Regional Director for Region 28
ployees that their rights guaranteed under the Act will be     to ask that the Federal Mediation and Conciliation Service appoint an
protected. We find that these circumstances outweigh           appropriately qualified mediator to assist the bargaining parties. In
the temporary impact the affirmative bargaining order          Member Prouty’s view, the affirmative bargaining order and progress
                                                               report remedy “may be insufficient to cause [the] Respondent to genu-
will have on the rights of employees who oppose contin-        inely change its mind and view concerning the efficacy of union repre-
ued union representation.                                      sentation and bargaining,” and a mediator would perhaps “cause [the]
   For all the foregoing reasons, we find that an affirma-     Respondent to alter its conduct. It would also provide the Board with a
tive bargaining order with its temporary decertification       window through which to observe the negotiations and to receive a
                                                               firsthand neutral report of the bargaining.” Altorfer Machinery Co.,
bar is necessary to fully remedy the Respondent's viola-       332 NLRB 130, 131 (2000) (Member Hurtgen, concurring in part)
tion of Section 8(a)(5) and (1) of the Act.                    (emphasis in original). The mediator would be authorized to attend
   We additionally order a 12-month extension of the cer-      bargaining sessions and meet with the parties (together or separately) as
tification year pursuant to Mar-Jac Poultry, 136 NLRB          often as the mediator deems appropriate. If, after a time decided by the
                                                               mediator, the mediation efforts fail, Member Prouty would “direct the
785 (1962). As discussed more fully above and in the           mediator to render a report to the parties and to the Regional Director
judge’s decision, following the Union’s certification, the     as to the status of negotiations and his or her recommendations con-
Respondent consistently sought to obstruct and delay           cerning the resolution of the non-agreed-upon matters.” Mid-Continent
negotiations. The Respondent first sent the Union sub-         Concrete, 336 NLRB 258, 263 (2001) (Chairman Hurtgen, concurring
                                                               in part).
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4                                DECISIONS OF THE NATIONAL LABOR RELATIONS BOARD


   (b) Refusing to bargain collectively with the Union by        (g) Preserve and, within 14 days of a request, or such
failing and refusing to furnish it with requested infor-      additional time as the Regional Director may allow for
mation that is relevant and necessary to the Union’s per-     good cause shown, provide at a reasonable place desig-
formance of its functions as the collective-bargaining        nated by the Board or its agents, all payroll records, so-
representative of the Respondent’s unit employees.            cial security payment records, timecards, personnel rec-
   (c) In any like or related manner interfering with, re-    ords and reports, and all other records, including an elec-
straining, or coercing employees in the exercise of the       tronic copy of such records if stored in electronic form,
rights guaranteed them by Section 7 of the Act.               necessary to analyze the amount of backpay due under
   2. Take the following affirmative action necessary to      the terms of this Order.
effectuate the policies of the Act.                              (h) Furnish to the Union in a timely manner the in-
   (a) On request, bargain with the Union as the exclu-       formation requested by the Union on October 4, 2021.
sive collective-bargaining representative of the employ-         (i) Post at its Deming and Animas facilities copies of
ees in the following appropriate unit concerning terms        the attached notice marked “Appendix.”4 Copies of the
and conditions of employment and, if an understanding is      notice, on forms provided by the Regional Director for
reached, embody the understanding in a signed agree-          Region 28, after being signed by the Respondent’s au-
ment:                                                         thorized representative, shall be posted by the Respond-
                                                              ent and maintained for 60 consecutive days in conspicu-
    All full-time and regular part-time apprentice lineman    ous places, including all places where notices to employ-
    and journeyman lineman employed by Employer; ex-          ees are customarily posted. In addition to physical post-
    cluding all other employees, clerical employees,          ing of paper notices, notices shall be distributed electron-
    guards, and supervisors as defined by the Act.            ically, such as by email, posting on an intranet or an in-
The certification year shall extend 12 months from the date   ternet site, and/or other electronic means, if the Respond-
the Respondent begins to bargain in good faith.               ent customarily communicates with its employees by
   (b) Submit written bargaining progress reports every       such means. The Respondent shall take reasonable steps
30 days to the NLRB Region 28 compliance officer, with        to ensure that the notices are not altered, defaced, or cov-
service on the Union, until an agreement or good-faith        ered by any other material. If the Respondent has gone
impasse is reached.                                           out of business or closed a facility involved in this pro-
   (c) Compensate the Union for all bargaining expenses       ceeding, the Respondent shall duplicate and mail, at its
it has incurred from April 25, 2021, through December 4,      own expense, a copy of the notice to all current employ-
2021. Upon receipt of a verified statement of costs and       ees and former employees employed by the Respondent
expenses from the Union, the Respondent shall promptly        at that facility at any time since April 25, 2021.
submit a reimbursement payment in the stated amount to           (j) Within 21 days after service by the Region, file
the NLRB Region 28 compliance officer, who will doc-          with the Regional Director for Region 28 a sworn certifi-
ument receipt and forward the payment to the Union.           cation of a responsible official on a form provided by the
   (d) Make whole any affected employee negotiators for       Region attesting to the steps that the Respondent has
any earnings lost while attending bargaining sessions in      taken to comply.
the manner set forth in the remedy section of the judge’s        4 If the facility involved in this proceeding is open and staffed by a
decision as amended in this decision, to the extent those     substantial complement of employees, the notice must be posted within
earnings were not reimbursed by the Union.                    14 days after service by the Region. If the facility is closed or not
   (e) Compensate affected employees for the adverse          staffed by a substantial complement of employees due to the Corona-
tax consequences, if any, of receiving lump-sum backpay       virus Disease 2019 (COVID-19) pandemic, the notice must be posted
                                                              within 14 days after the facility reopens and a substantial complement
awards, and file with the Regional Director for Region        of employees have returned to work. If, while closed or not staffed by
28, within 21 days of the date the amount of backpay is       a substantial complement of employees due to the pandemic, the Re-
fixed, either by agreement or Board order, a report allo-     spondent is communicating with its employees by electronic means, the
cating the backpay awards to the appropriate calendar         notice must also be posted by such electronic means within 14 days
                                                              after service by the Region. If the notice to be physically posted was
years for each employee.                                      posted electronically more than 60 days before physical posting of the
   (f) File with the Regional Director for Region 28,         notice, the notice shall state at the bottom that “This notice is the same
within 21 days of the date the amount of backpay is fixed     notice previously [sent or posted] electronically on [date].” If this
by agreement or Board order or such additional time as        Order is enforced by a judgment of a United States court of appeals, the
                                                              words in the notice reading “Posted by Order of the National Labor
the Regional Director may allow for good cause shown, a       Relations Board” shall read “Posted Pursuant to a Judgment of the
copy of each backpay recipient’s corresponding W-2            United States Court of Appeals Enforcing an Order of the National
forms reflecting the backpay award.                           Labor Relations Board.”
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                                        COLUMBUS ELECTRIC COOPERATIVE, INC.                                            5

                                                              terms and conditions of employment and, if an under-
                                                              standing is reached, embody the understanding in a
    Dated, Washington, D.C. June 8, 2023                      signed agreement:
                                                                  All full-time and regular part-time apprentice lineman
         ______________________________________                   and journeyman lineman employed by Employer; ex-
         Lauren McFerran,               Chairman                  cluding all other employees, clerical employees,
                                                                  guards, and supervisors as defined by the Act.
                                                                 WE WILL recognize that the certification year is ex-
         ______________________________________               tended for 12 months from the date that good-faith bar-
         Gwynne A. Wilcox,              Member                gaining resumes.
                                                                 WE WILL submit written bargaining progress reports
                                                              every 30 days to the NLRB Region 28 compliance of-
         ______________________________________               ficer, with service on the Union, until an agreement or
         David M. Prouty,               Member                good faith impasse is reached.
                                                                 WE WILL compensate the Union for all bargaining ex-
                                                              penses it has incurred from April 25, 2021, through De-
(SEAL)        NATIONAL LABOR RELATIONS BOARD                  cember 4, 2021.
                      APPENDIX                                   WE WILL make whole any affected employee negotia-
                  NOTICE TO EMPLOYEES                         tors for any earnings lost while attending bargaining ses-
                 POSTED BY ORDER OF THE                       sions, plus interest, to the extent those earnings were not
            NATIONAL LABOR RELATIONS BOARD                    reimbursed by the Union.
         An Agency of the United States Government               WE WILL compensate affected employees for the ad-
                                                              verse tax consequences, if any, of receiving lump-sum
The National Labor Relations Board has found that we vio-     backpay awards, and WE WILL file with the Regional Di-
lated Federal labor law and has ordered us to post and obey   rector for Region 28, within 21 days of the date the
this notice.                                                  amount of backpay is fixed, either by agreement or
     FEDERAL LAW GIVES YOU THE RIGHT TO                       Board order, a report allocating the backpay awards to
         Form, join, or assist a union                        the appropriate calendar years for each employee.
         Choose representatives to bargain with us on            WE WILL file the Regional Director for Region 28,
     your behalf                                              within 21 days of the date the amount of backpay is fixed
         Act together with other employees for your bene-     by agreement or Board order or such additional time as
     fit and protection                                       the Regional Director may allow for good cause shown, a
         Choose not to engage in any of these protected       copy of each backpay recipient’s corresponding W-2
     activities.                                              forms reflecting the backpay award.
                                                                 WE WILL furnish to the Union in a timely manner the
   WE WILL NOT fail and refuse to recognize and bargain
                                                              information requested by the Union on October 4, 2021.
with International Brotherhood of Electrical Workers,
Local 611, AFL–CIO (Union) as the exclusive collec-                       COLUMBUS ELECTRIC COOPERATIVE, INC.
tive-bargaining representative of our employees in the           The Board’s decision can be found at
bargaining unit.                                              https://www.nlrb.gov/case/28-CA-285046 or by using
   WE WILL NOT refuse to bargain collectively with the        the QR code below. Alternatively, you can obtain a copy
Union by failing and refusing to furnish it with requested    of the decision from the Executive Secretary, National
information that is relevant and necessary to the Union’s     Labor Relations Board, 1015 Half Street, S.E., Washing-
performance of its functions as the collective-bargaining     ton, D.C. 20570, or by calling (202) 273-1940.
representative of our unit employees.
   WE WILL NOT in any like or related manner interfere
with, restrain, or coerce you in the exercise of the rights
listed above.
   WE WILL, on request, bargain with the Union as the
exclusive collective-bargaining representative of our
employees in the following appropriate unit concerning
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6                                    DECISIONS OF THE NATIONAL LABOR RELATIONS BOARD


                                                                     held on June 7–10, 2022.1
                                                                        Thereafter, on July 15, the General Counsel and CEC filed
                                                                     posthearing briefs. As discussed below, the allegations are
                                                                     factually and legally well supported.2
                                                                                           I. THE RELEVANT FACTS

                                                                        It is well established that an employer’s total or entire course
                                                                     of conduct should be considered in evaluating whether it un-
                                                                     lawfully bargained in bad faith with a union. This includes, not
                                                                     just the employer’s conduct during the 6-month period preced-
Judith E. Dávila, Esq., for the General Counsel.                     ing the charge, but also the employer’s previous conduct to the
Alan M. Bayless Feldman, Esq. & Danny W. Jarret, Esq. (Jack-         extent it may elucidate the true nature of the conduct within the
   son Lewis P.C.), for the Respondent Company.                      limitations period. See, e.g., Altura Communication Solutions,
James Montalbano, Esq. (Youtz & Valdez, P.C.), for the Charg-        LLC, 369 NLRB No. 85, slip op. at 3, 6, 35 fn. 22, and 37
   ing Party Union.                                                  (2020), enfd. mem. 848 Fed.Appx. 344 (9th Cir. 2021); Regen-
                          DECISION                                   cy Service Carts, 345 NLRB 671, 672 fn. 3 (2005); Freuhauf
                                                                     Trailer Services, Inc., 335 NLRB 393 fn. 5, 405 (2001); and
   JEFFREY D. WEDEKIND, Administrative Law Judge. In early           Crane Co., 244 NLRB 103, 110 (1979). See also Machinists
2020, Electrical Workers Local 611 was elected and certified as      Local Lodge 1424 (Bryan Mfg. Co.) v. NLRB, 362 U.S. 411,
the collective-bargaining representative of the apprentice and       416 (1960).
journeyman linemen employed by Columbus Electric Coopera-               Here, the General Counsel made clear at the outset of the
tive in Deming and Animas, New Mexico. Negotiations over a           hearing that evidence regarding CEC’s conduct since the Union
first contract covering the linemen got off to a slow start, how-    was certified in March 2020, including the conduct alleged in
ever. The Union and CEC did not hold their initial bargaining        the Union’s settled charges, would be presented and relied on to
session until late September, over 6 months after the Union’s        establish that CEC bargained in bad faith since April 22, 2021.
March 10 certification. And no further sessions were held the        CEC objected to this, but consistent with the above-cited prec-
rest of the year.                                                    edent and the settlement itself, which preserved the General
   The Union accused CEC of causing the delay and filed un-          Counsel’s right to use and rely on evidence of the alleged pre-
fair labor practice charges alleging that it was unlawfully refus-   settlement conduct in future cases, CEC’s objection was over-
ing to bargain in good faith. The charges also alleged that CEC      ruled.3
unlawfully refused to provide certain employee disciplinary             Accordingly, the relevant facts begin at the beginning.
records the Union requested. These charges were eventually
settled in late January 2021, with CEC agreeing to bargain in         A. The First 10 Months (March 2020 through January 2021)
good faith and to provide the disciplinary records and other            To prepare for bargaining over a first contract, the Union’s
relevant and necessary information on request, but not admit-        initial step, on March 16, was to email CEC a request for in-
ting that its alleged conduct was unlawful.                          formation regarding the linemen’s current terms and conditions
   The parties subsequently held several bargaining sessions         of employment. The Union requested CEC to provide the in-
and exchanged written proposals or counterproposals. Howev-          formation by April 13, and the record indicates that CEC did
er, they failed to reach agreement on several key items, includ-     so.4
ing management rights, discipline, grievances, wages, and ben-          Around this same time, on April 2, and again on July 1 and
efits. Eventually, the Union concluded that CEC was still not
bargaining in good faith, and on October 22 it filed another            1 At the General Counsel’s unopposed request, the hearing was held

unfair labor practice charge. Several weeks later, in early De-      remotely via the Zoom for Government online platform. See GC Exh.
cember, the Union advised CEC that it believed the negotia-          1(f). Jurisdiction is undisputed and established by the record. Unless
tions had reached impasse, and CEC agreed.                           otherwise indicated, CEC also does not dispute that any of the individ-
   The present NLRB complaint followed. As alleged in the            uals who allegedly committed the unlawful conduct are its supervisors
                                                                     and/or agents within the meaning of the Act.
Union’s October 22 charge, the complaint alleges that CEC               2 Citations to the record are included to aid review and are not nec-
violated Section 8(a)(5) and (1) of the Act by failing and refus-    essarily exclusive or exhaustive. (See ALJ Exh. 1 for transcript correc-
ing to bargain in good faith since April 22, 2021 (the statutory     tions.) In making credibility findings, all relevant factors have been
6-month limitations period). Specifically, it alleges that, among    considered, including the interests and demeanor of the witnesses;
other things, CEC insisted on predictably unacceptable disci-        whether their testimony is corroborated or consistent with the docu-
pline, grievance, and other provisions; made regressive pro-         mentary evidence and/or the established or admitted facts; inherent
posals on various subjects that were worse than its initial pro-     probabilities; and reasonable inferences that may be drawn from the
posals; and otherwise bargained with no intention of reaching        record as a whole. See, e.g., Daikichi Corp., 335 NLRB 622, 623
                                                                     (2001), enfd. 56 Fed. Appx. 516 (D.C. Cir. 2003); and New Breed
an agreement. It also alleges that CEC refused since early Oc-       Leasing Corp. v. NLRB, 111 F.3d 1460, 1465 (9th Cir.), cert. denied
tober 2021 to provide the Union with requested information           522 U.S. 948 (1997).
regarding the use of contractors to perform unit work.                  3 See Tr. 13–14, 63–68, 198–200; and GC Exh. 29.

   A hearing to litigate these alleged unfair labor practices was       4 GC Exh. 6; Tr. 58–59, 237–238.
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                                                  COLUMBUS ELECTRIC COOPERATIVE, INC.                                                               7

27, the Union also emailed CEC requests for information re-                  on the designated lineman’s day off.8
garding the recent discipline or discharge of certain unit em-                   The Union replied the following day. The Union said it had
ployees in order to bargain and/or file grievances through                   selected Albert Munoz, one of the three linemen who worked in
CEC’s normal process over those actions. The April 2 email                   Animas, to participate in the negotiations. It also agreed to
requested all documentation relied on and records of discipline              hold the initial bargaining session on a Friday, Munoz’ day off,
issued to any employee in the past 12 months and any proba-                  and suggested Friday, September 25, from 9 a.m. to 5 pm.
tionary employees in the last 24 months. The July 1 email re-                However, it requested that Munoz be released from work at
quested all documentation relied on for the discipline and all               least the day before so he could travel the 300 miles to the Un-
previous disciplines issued to both unit and nonunit employees               ion’s office in Albuquerque to meet and prepare with the rest of
for similar offenses. And the July 27 email requested a list of              the Union’s bargaining team. The Union also stated that it did
unit employees disciplined over the past 11 months and a copy                not agree to meeting only on Fridays going forward. Finally,
of their discipline. CEC, however, failed or refused to provide              the Union objected to “any further delays” in scheduling meet-
this information.5                                                           ings and requested CEC to provide its available dates in Octo-
   In the meantime, on June 24, the Union also emailed CEC a                 ber.9
request for dates when it would be “available to start meeting                   It is unclear from the record when or how CEC responded to
and working out the details of a contract.” Over a month went                the Union’s September 11 email. However, CEC agreed to
by, however, without receiving any. So, on July 29 the Union                 meet on September 25 as proposed. As for the Union’s request
emailed CEC again. The Union said it was “still waiting on                   to release Munoz the day before, the Union emailed CEC again
dates for us to negotiate” and again asked CEC for “available                on September 18 and asked if CEC was going to “accommo-
dates . . . so that we may schedule dates to meet and bargain.”6             date” that request. CEC responded that Munoz had requested
   CEC responded later that day. However, it still did not pro-              “vacation time” for that day, and that CEC granted his re-
vide any dates. Instead, CEC advised that it was not willing to              quest.10
meet with the Union “in person” at that time due to the                          The parties subsequently met on September 25 via Zoom, as
COVID-19 pandemic. The Union replied the following day.                      agreed. Attending for CEC were Chris Martinez, its executive
The Union said that it “never suggested in person meetings” or               vice president and general manager; Nancy Long, its attorney;
“asked to meet in person only,” and that there were “electronic              and Susanna Morris, its HR supervisor. Attending for the Un-
systems” they could use to meet and bargain. The Union again                 ion and the linemen were Assistant Business Managers Mark
asked for “available dates,” stating that the parties could then             Strand and Shannon Fitzgerald, and Munoz.
discuss “the method” they would use to meet.7                                    As CEC had scheduled the Zoom meeting, it controlled the
   Nevertheless, another month passed without receiving any                  Zoom host tools, including the recording tool. And CEC im-
dates from CEC. Accordingly, the Union informed its attorney                 mediately began recording the session. However, CEC had not
of the situation, and the attorney called CEC shortly after. The             previously asked the Union’s permission or agreement to do so,
attorney told CEC that if available dates were not provided to               and the Union objected when the Zoom recording notification
the Union by the end of the day, he would file a charge with the             appeared on the screen. The Union argued that recording was
NLRB.                                                                        something that had to be negotiated as part of the ground rules.
   CEC eventually responded by email on Sept 10. However,                    And it emailed CEC a list of proposed ground rules, one of
again, it did not provide any dates. Instead, for the first time,            which stated that there would be no electronic recording of the
CEC raised a question about which of the linemen the Union                   bargaining sessions.
would be designating to attend the “virtual” bargaining ses-                     CEC disagreed and refused to turn off the Zoom recording
sions. CEC stated that it needed to know because there were                  tool. It also expressed disagreement with one of the Union’s
only seven journeyman and apprentice linemen in the unit;                    other proposed ground rules regarding tentative agreements
CEC’s powerline maintenance services would be “interrupted”                  (TAs). The proposed rule provided that TAs would be reduced
if even one of them did not work his full 4-day weekly sched-                to writing, initialed, and dated by the chief negotiators and
ule; and CEC therefore wanted to hold the bargaining sessions                could not thereafter be altered or reopened unless both parties
                                                                             agree. CEC said it would not do such “piecemeal” bargaining;
   5  GC Exhs. 26–28; Tr. 258–262, 265–266.                                  that it would not sign anything until an entire agreement had
   6  GC Exhs. 7, 8.                                                         been reached. It also said that any proposals would have to be
   7 GC Exh. 9. All of the email communications about scheduling
                                                                             reviewed and approved by CEC’s board of trustees.
bargaining dates during this time were between Mark Strand, the Un-              The Union at that point repeated its objection to recording
ion’s assistant business manager, and Nancy Long, CEC’s attorney.
                                                                             the bargaining session. The Union argued that recording was a
Long’s July 29 email response to Strand indicates that she had previ-
ously “told” him “numerous times” that in-person meetings were un-           non-mandatory/permissive subject and CEC could not insist on
safe during the pandemic. However, there is no other, nonhearsay             it to impasse.11 The Union said it would not continue negotiat-
record evidence of this. Long did not testify and there is no other evi-
dence that Long had previously done so in response to the Union’s              8   GC Exh. 10; Tr. 62–63.
initial June 25 email requesting dates. Strand testified (Tr. 62) that all     9   GC Exh. 11; Tr. 63, 68, 83.
communications between him and Long about scheduling dates were                 10 R. Exh. 7.

by email; his testimony was uncontroverted; and no emails other than            11 “[E]ach party is free to bargain or not to bargain, and to agree or

those referenced here were introduced at the hearing.                        not to agree,” with respect to permissive/nonmandatory subjects of
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8                                       DECISIONS OF THE NATIONAL LABOR RELATIONS BOARD


ing if CEC did not stop recording the session. CEC, however,                          necessary”; and to discipline and discharge employ-
again refused to do so. The session therefore ended without                           ees for “just cause” (art. 6);
any further discussion.                                                              The proposal also contained provisions which, among
   However, either shortly before or after the session ended, the                     other established a new three-step grievance proce-
Union emailed CEC a proposed collective-bargaining agree-                             dure, which allowed 15 calendar days to submit the
ment. The proposed contract was for a one-year term and con-                          written grievance at both the first and second steps,
tained 23 articles.                                                                   and provided for final and binding arbitration at the
   Regarding union membership and dues, the Union’s pro-                              third step (art. 7); and
posal:                                                                               provided that the Union could designate “a reasona-
          required all employees to become and remain mem-                           ble number of stewards” to represent the Union and
           bers of the Union, i.e., to tender periodic dues and                       the unit employees in disputes under the contract,
           fees, within 30 days of employment (art. 3); and                           who would be allowed “reasonable and sufficient
                                                                                      time” to perform their steward duties without loss of
          stated that CEC would deduct periodic dues from the
           pay of unit employees’ who voluntarily executed a                          pay or benefits (art. 5).
           dues check-off form (art. 4).                                      The proposal also contained provisions which, among other
                                                                           things:
    Regarding wages and benefits, the proposal:
                                                                                     established a 4/10 employee work schedule, i.e., four
          increased the wages of the journeymen and appren-
                                                                                      days a week (Mon.–Thurs., or Tues.–Fri.), 10 hours
           tice linemen 12 to 17 percent (between $3 and $5 per
           hour) (art. 23);                                                           per day between 6:30 am and 5 pm., except on holi-
                                                                                      day weeks (art. 8);
          required CEC to equalize overtime hours among em-                         prohibited strikes, stoppages, and lockouts (art. 2);
           ployees (art. 9); and to pay double-time for holiday                       and
           work and double-time for after-midnight work until                        incorporated several provisions from CEC’s existing
           the employee received an 8-hour rest period (art. 10);                     employee manual, including those covering equal
          required CEC to rotate and limit on-call status; to pay                    employment opportunity (art. 13), employee travel
           employees two hours pay while on call and five hours                       expenses (art. 15), and paid time off, including holi-
           pay if it was on a day off or holiday; and to pay em-                      days, vacations, sick leave, and other types of leave
           ployees $75 per month for use of their personal cell                       (art. 16).
           phone (art. 12);
                                                                              The Union also attached some proposed changes to certain
          stated that employees would not be deprived of week-
                                                                           provisions in the CEC employee manual. For example, con-
           ly earnings because of inclement weather (art. 18);
                                                                           sistent with article 6 of its contract proposal, the Union pro-
           and
                                                                           posed changing section 5.26 of the manual, which gave CEC
          maintained current benefits with no increases in em-
                                                                           unfettered discretion to discipline and discharge employees, to
           ployee costs (art. 21).
                                                                           substitute “just cause” language. The Union also proposed cer-
   Regarding management rights, discipline, and grievances,                tain changes to various other personnel documents applicable to
the proposal:                                                              the linemen.12
                                                                              About 10 days later, on October 7, the Union filed its initial
          stated that CEC’s management rights were “unquali-
                                                                           unfair labor practice charge against CEC. The Union also filed
           fied” so long as they were “not expressly prohibited
                                                                           additional, amended charges in late October and mid-
           by this agreement,” and that CEC retained “all rights
                                                                           November, and again in mid-January 2021. The charges al-
           not prohibited by this Agreement”; but added limiting
                                                                           leged that CEC had bargained in bad faith in various ways,
           language stating that, among other things, CEC had
                                                                           including by not scheduling sufficient sessions or providing
           the right to schedule operations, shifts, rest breaks
                                                                           dates, not providing its negotiators with authority to enter bind-
           and lunch breaks, overtime and all hours of work “in
                                                                           ing agreements, and by recording the September 25 session
           accordance with this agreement”; to select, hire, as-
                                                                           over the Union’s objection. They also alleged that CEC had
           sign, lay off, transfer and promote employees “in ac-
                                                                           refused to provide information and to bargain regarding the
           cordance with this agreement”; to prepare and make
           available job descriptions and establish job classifica-            12 Jt. Exhs. 1 (Union’s Sept. 25 proposed contract), 2 (Union’s pro-
           tions “thru bargaining with the Union”; to make, re-            posed ground rules); GC Exh. 2; R. Exh. 8; Tr. 35–37, 68–71, 142,
           vise and modify “reasonable rules” governing the                165–166, 174–177, 278–281, 312, 328–329. Regarding the amount of
           conduct of employees “as the Cooperative deems                  the Union’s proposed wage increases for the apprentice and journey-
                                                                           men linemen, compare CEC’s subsequent wage proposal (Jt. Exh. 3,
bargaining. NLRB v. Wooster Division of Borg-Warner Corp., 356             art. 23), which lists the linemen’s wages as of January 1, 2020; and
U.S. 342, 349 (1958). Thus, unlike with respect to mandatory subjects,     Martinez’ testimony (Tr. 312, 377–385, 495–497) discussing the Un-
a party may not insist to impasse on such subjects. As discussed, infra,   ion’s proposal and subsequent wage increases CEC implemented in
the Union’s assertion that recording the bargaining session was a per-     February 2021.
missive/nonmandatory subject was correct.
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discipline or discharge of the linemen.13                                      was for a longer, three-year term (Jan. 1, 2021–Dec. 31, 2023).
   In the meantime, on November 2, the Union sent another                      It also contained more articles (32). And except for those the
email to CEC again asking it for additional dates to meet and                  Union had incorporated from CEC’s employee manual, the
bargain. However, CEC declined, stating, “In light of the pend-                provisions differed significantly from those in the Union’s pro-
ing unfair labor practice charges that have been filed over bar-               posal. For example, with respect to union membership and
gaining, it is probably best to have your lawyer speak with our                dues, CEC’s proposal:
lawyer about any continued negotiations.” And CEC did not
                                                                                       stated that employees “may voluntarily become or
meet with the Union through January of the following year
                                                                                        remain members of the Union” (art. IV), i.e., it did
while the charges remained pending with the NLRB.14 Nor did
                                                                                        not require them to pay dues and fees as a condition
it submit a written counterproposal to the Union’s September
                                                                                        of employment; and
25 proposed contract during that time.15
    B. The Next 3 Months (February through April 22, 2021)                             did not include a dues checkoff provision.

   As indicated above, the Union and CEC eventually executed                     Regarding wages and benefits, the proposal:
a nonadmission informal settlement of the unfair labor practice                        increased wages three percent in the first year and
charges in late January 2021. CEC agreed not to bargain in bad                           two percent in the second and third years of the con-
faith in the manner alleged in the charges or to refuse to pro-                          tract (art. XXIII);
vide the Union with relevant and necessary information. It also
affirmatively agreed to bargain in good faith with the Union                           ● stated that CEC could require an employee to work
generally, and to provide disciplinary records the Union had                            overtime, without any accompanying obligation to
requested on April 2 and July 1 and 27, 2020 specifically.16                            equalize overtime among employees (art. XII); and
   Over the next 3 months, the parties met for two more bar-                            that CEC would pay time and a half for holiday work
gaining sessions, on February 26 and April 16. Like the initial                         and double-time for after-midnight work until the
session 5 months earlier, both were held on a Friday because                            employee received a 6-hour rest period (art. XIII);
CEC would not release Munoz to attend sessions on his work-                            stated that CEC would pay employees one hour of
days. Both sessions were also again conducted and hosted by                              pay while on call and two hours of pay if it was on
CEC over Zoom. Martinez, Long, and Morris attended the                                   their day off or a holiday, and did not require CEC to
sessions for CEC, and Strand, Fitzgerald, and Munoz attended                             rotate or limit on-call status or pay employees any
for the Union.17                                                                         amount for using their personal cell phone (art.
                       February 26 Session                                               XIV);
   At the beginning of the February 26 session, CEC emailed its                        stated that CEC could require employees to perform
initial contract proposal to the Union.18 The proposal, which                            other work during inclement weather but did not
had been approved by CEC’s board of trustees a few days earli-                           prevent CEC from reducing their weekly earnings
er, differed substantially from the Union’s proposed contract. It                        because of inclement weather (art. XIX); and
    13 Tr. 37, 43, 47, 329. The Union’s charges (21–CA–267344 and–                     maintained existing benefit plans but with percentage
267345) were not offered into evidence. However, I have taken admin-                    caps on employer contributions to the retirement and
istrative notice of them. See Farmer Bros. Co., 303 NLRB 638 n. 1                       401k plans (“18%” of the employee-based wage to
(1991), enfd. 988 F.2d 120 (9th Cir. 1993).                                             the retirement plan and “1%” of employee base wag-
    14 GC Exh. 13; Tr. 72–73, 177, 256–257. As before, the emails were
                                                                                        es for the 401k plan), and percentage caps on em-
between Strand and Long, CEC’s attorney.                                                ployer contributions or payments for employee
    15 Tr. 379, 440–441, 455–456.       Martinez testified that he began                healthcare premiums (no cap [100%] for individual
drafting a counterproposal shortly after the September 25 session, and
                                                                                        coverage and “80%” for dependent coverage in
that he submitted a “sixth draft” to the NLRB in late 2020 in response
to the Union’s charges to demonstrate that CEC was prepared to bar-                     2021, which decreased in 2022 (95/75) and 2023
gain. However, he admitted that he did not send the draft to the Union.                 (90/70) thereby increasing the employees’ percent-
(Tr. 330–332, 379, 441.) And there is no evidence he sent any of the                    age) (art. XXI).
previous drafts to the Union either.
    16 GC Exh. 29. The record indicates that CEC provided the Union
                                                                                 Regarding management rights, the proposal:
with some of the requested disciplinary information after the charges                  contained a management rights provision (art. VI,
were filed. The remaining information, which is specifically listed in                  sec. 6.1) stating, among other things, that CEC “re-
the settlement’s notice to employees, was not provided until after the                  tain[ed] all of the powers, rights, functions and au-
settlement was executed. See Tr. 258–263.
    17 R. Exhs. 9–14, 19, 20; Tr. 46–47, 68, 82–83, 147, 163, 232–233,                  thority to manage [its] operations and affairs, [and] to
256–267, 452, 479, 482–487. See also GC Exh. 19. It is unclear from                     hire, assign, layoff, discharge, promote and direct the
the record if Munoz attended the April 16 session.                                      workforce, “except to the extent to which they are
    18 The proposal is identified as the “seventh draft.” See GC Exh. 5.                specifically limited by an express provision of this
But, as noted above (fn. 15), it is the first draft sent to the Union. It is            Agreement”; and that “nothing herein shall be con-
also the first draft in evidence; the sixth and prior drafts were never                 strued to limit” CEC’s right “to determine the charac-
introduced. And there is no other evidence how it differed from them.                   ter, extent or methods of its operations . . . includ[ing]
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         . . . the right to . . . schedule hours, overtime and                  form his duties outside of normal working hours “to
         shifts, [and] to discipline and discharge employees                    the extent practicable,” but would be allowed a “rea-
         “for just cause”;                                                      sonable time, paid by the Union,” to fulfill his obliga-
                                                                                tions regarding employee matters or grievances.
        also contained a separate “recognition” provision (art.
         III, sec. 3.2) that stated, without any qualification or      The proposal also contained provisions:
         limitation, that CEC “retain[ed] all of the powers,
                                                                               stating that an employee’s normal 40-hour workweek
         rights, functions and authority” to “layoff, discharge,
                                                                                would be scheduled “at the discretion of the Manag-
         transfer, promote and direct the workforce”; to                        er”; that CEC could “temporarily restructure” it “to
         “schedule hours, overtime and shifts, transfer be-
                                                                                accommodate certain project schedules”; and that
         tween operations centers, [and] to discipline and dis-
                                                                                nothing in these provisions constituted a guarantee or
         charge employees,” and that “nothing contained here-
                                                                                limitation on the number of hours per day or days per
         in shall be interpreted to prohibit the contracting out                week assigned to any employee (art. XI); and
         of line construction or maintenance work”; and
                                                                               likewise prohibiting strikes, stoppages, and lockouts,
        also contained a separate discipline provision (art. X,                but also requiring the Union to “guarantee” that it
         sec. 10.2) that incorporated language in CEC’s em-
                                                                                would “support the Cooperative fully in maintaining
         ployee manual (which the Union had proposed delet-                     operations in every way possible” (art. XXXI).
         ing) stating that CEC could impose disciplinary sanc-
         tions, up to and including discharge “for any . . . rea-      CEC summarized the proposed contract for the Union, not-
         son determined to be in the best interests of the Co-      ing which articles from the Union’s proposal were or were not
         operative”; that “to the fullest extent permissible”       included. It also briefly discussed several of the provisions,
         employment was “at will”; and that CEC could “im-          including wages and benefits. CEC notified the Union that the
         pose, modify or terminate any or all conditions of         proposed three percent wage increase for 2021 had already
         employment and . . . terminate any employment rela-        been granted for nonunit employees and that CEC was prepared
         tionship, benefit or compensation for no reason or for     to grant it to the unit employees as well as an “act of good
         any reason the Cooperative determines to be desira-        faith.” However, CEC advised that it anticipated continuing
         ble, with or without notice or cause.”                     increases in healthcare costs and that there needed to be some
                                                                    “offset of risk” going forward. The session ended shortly after
   The proposal also included the following additional provi-
                                                                    as the Union requested more time to review CEC’s proposal
sions specifically addressing discharge:
                                                                    before responding to it.19
        a provision (art. IX) that identified approximately 10        The following week, on March 1, the Union emailed CEC to
         types of conduct that the Cooperative “may” dis-           advise that it tentatively agreed to four of the articles in CEC’s
         charge an employee for (sec. 9.1), also listed 8 types     proposed contract: art I (basic statement of agreement), art. XV
         of conduct that “will” result in “immediate termina-       (EEO), art. XVII (employee travel expenses), and art. XVIII
         tion,” including “any . . . serious infraction” (sec.      (paid time off). The last three of these were from the CEC
         9.2), and stated that “any disciplinary action, demo-      employee manual and had been included in the Union’s initial
         tion, suspension or termination shall be deemed final”     proposal as well. Consistent with its previously proposed
         (sec. 9.3);                                                ground rules, the Union also attached signed and dated TAs on
                                                                    each of the four articles for CEC’s signature.20
        a provision regarding the introductory evaluation pe-         CEC responded on March 5. CEC thanked the Union for
         riod (art. XVI), which incorporated language in            providing the four items it agreed with. However, CEC de-
         CEC’s employee manual stating that successful com-         clined to sign any of the TAs, reiterating that it would not “en-
         pletion of that period did not guarantee continued
                                                                    gage in piecemeal bargaining as one area of the contract may
         employment or imply that CEC waived or relin-              affect others.” It also stated that it would be helpful to get the
         quished the right to terminate the employment “with        Union’s comments on the entire contract before meeting again.
         or without cause, warning, or notice.”                        The Union replied by email on March 8. The Union stated
  Regarding grievances and union representation, the proposal:      that it had provided CEC the articles it was “ready to tentatively
                                                                    agree to,” and that “the rest” of CEC’s proposed articles indi-
        contained provisions (art. X, sec. 10.4) incorporating
                                                                    cated CEC wanted “a Management dominated unrestricted
         the existing grievance procedures in the employee
         manual, which required the employee to submit a               19 Jt. Exh. 3; R. Exh. 19; Tr. 310–311, 377–378, 381–383. Martinez
         written complaint within two workdays after the oc-        testified that the parties spent the first half of the meeting discussing the
         currence or denial by the supervisor, and provided         Union’s September 25, 2020 proposal, and that CEC’s proposal was not
         that the general manager’s decision would be final         emailed to the Union or discussed until after this (Tr. 368–370). How-
         and binding, i.e., it did not provide for arbitration;     ever, this testimony is inconsistent with both Morris’s bargaining notes,
         and                                                        which indicate that Martinez began the meeting by discussing CEC’s
                                                                    proposed contract, and Long’s 9:08 am email sending CEC’s proposed
        also contained provisions (art. V) stating that the Un-    contract to Union.
         ion could appoint only one steward, who would per-            20 Jt. Exh. 4; Tr. 76.
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contract” and needed to be worked on. The Union identified,                      to one percent;
“for a start,” the grievance and discipline processes as two
                                                                                modified its proposed healthcare benefits provision
items that needed to be “discussed.” The Union said it was
                                                                                 (art. XXI) to maintain a 100/80 percent CEC contri-
“ready to meet” regarding these and other subjects.
                                                                                 bution rate for individual and dependent coverage
   CEC responded shortly after. CEC said it was helpful to un-
                                                                                 through 2022 (the new first year of the amended pro-
derstand those areas where the parties were “currently in
                                                                                 posed contract) and to move the previously proposed
agreement” but repeated that it would not engage in “piecemeal
                                                                                 reductions out to years 2023 and 2024 (instead of
bargaining.” Regarding the Union’s comment that its proposal
                                                                                 2022 and 2023); and
appeared “Management dominated,” CEC said its “interest was
in providing clarity and direction so everyone is clear about the               modified its proposed 401k benefits provisions (art.
rules and expectations.” As for grievance and discipline poli-                   XXI) to lower the cap on CEC’s 401k contributions
cies, CEC suggested providing “acceptable” proposals in those                    from “1%” to “.01%” of the employees’ base wag-
areas from the Union’s viewpoint so that there would be                          es.22
“something concrete to discuss” at the next meeting.                     The parties discussed these CEC amendments and other pro-
   The Union replied a few hours later. The Union explained           visions in their competing proposals at the April 16 session.
that employees were concerned about disparate treatment and
                                                                         Contract term. CEC said it proposed a 3-year term because
that CEC’s discipline and grievance proposals did not mention
                                                                      the parties would be in “perpetual negotiations” if the contract
“just cause” or provide any reasonable method for redressing
                                                                      was only for one year as the Union proposed. However, the
complaints. The Union asked what CEC’s “problems” were
                                                                      Union did not agree to CEC’s proposed 3-year term. Nor did it
with a grievance process that ends in final and binding arbitra-
                                                                      agree to CEC’s amended proposal to move the starting date of
tion. Regarding TAs, the Union explained that it was hard to
                                                                      the contract out to January 1, 2022.23
bargain without understanding what had been agreed to and
                                                                         Management rights. The Union asked CEC to explain why
asked if CEC’s proposal was a “take it all or reject it all offer.”
                                                                      its amended proposal added the new section regarding common
   CEC responded on March 15. CEC denied that its proposed
                                                                      law management rights. CEC said it wanted to clarify that such
agreement was a “take it all or reject it all” proposal. CEC ex-
                                                                      rights were not being waived just because they were not spelled
plained that it merely wanted the Union’s position or comments
                                                                      out in the agreement. The Union disagreed with the addition,
before meeting to make for a more productive session and to
                                                                      asserting that it appeared to expand CEC’s management
understand where there is agreement. However, CEC did not
                                                                      rights.24
explain what its problems were with final and binding arbitra-
                                                                         Discipline and grievances. The Union objected to CEC’s
tion.21
                                                                      proposed article on discipline and grievances because it permit-
                        April 16 Session                              ted CEC to have final say over both. The Union told CEC that
   The parties subsequently agreed to hold their next bargaining      the provisions effectively deprived the employees of represen-
session on April 16. In the meantime, absent any objection            tation with respect to such matters; that no self-respecting union
from the Union, CEC granted the unit employees the same               would agree to them; and that they were unacceptable.
three percent wage increase that it had previously granted to            CEC indicated that it was willing to have a “just cause”
nonunit employees and included in its February 26 proposed            standard for discipline. However, CEC insisted that its general
contract for 2021. In addition, two days before the meeting,          manager retain the final say regarding both discipline and other
CEC emailed the Union an amended proposed contract that               workplace disputes; that it was unwilling to give the final deci-
moved the starting date for the 3-year contract to January 1,         sion on such matters to an arbitrator. CEC also objected to the
2022. CEC’s email explained that this reflected “the more             Union’s contrary proposal because it did not include any defini-
likely timeline” given the “very little progress” in negotiations     tion of “just cause” or other provisions that would give an arbi-
to date.                                                              trator guidance.25
   CEC’s April 14 amended proposal also made various other,              Union representation/stewards. CEC said its initial proposal
unexplained changes to its February 26 proposal. Specifically,        limited the Union to one steward because there were only seven
CEC’s amended proposal:                                               unit employees and the business would be disrupted if addition-
                                                                      al employees performed steward duties during work hours. As
         added a new section 3.5 to its proposed recognition         for its amended proposal, CEC said it went further and prohib-
          provision (art. III), stating that CEC retained “all in-    ited even one steward from performing steward duties during
          herent common law management functions and pre-             work hours because there likely would be disputes over what
          rogatives” not waived in the agreement;                     constitutes a “reasonable and sufficient time” to perform them
         modified its proposed union-representation provision
                                                                         22 Jt. Exh. 5; Tr. 78, 377, 497. CEC’s April 14 amended proposed
          (art. V) to require the steward to perform his duties
          “outside normal work hours”;                                contract also highlighted in yellow the four articles in the table of con-
                                                                      tents that the Union had agreed to.
         modified its proposed wages provision (art. XXIII) to             23 Tr. 78–79, 386–387.

          reduce the wage increase in each year of the contract          24 Tr. 183, 387.
                                                                         25 Tr. 74–76, 178–181, 192–193, 196–197, 292–295, 342–346. See

  21 GC Exh. 14–15; R. Exh. 15; Tr. 76–77.                            also GC Exh. 19.
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during work hours.                                                                   plan premiums for both individual and family cover-
   The Union disagreed with both proposals. The Union assert-                        age in all three years of the agreement, but with fixed
ed that they would make it administratively impossible to effec-                     caps ($850 for individual only and $2070 for individ-
tively process grievances, particularly within CEC’s proposed                        ual plus family) thereby requiring the employee to
2-workday time limit, as the linemen’s reporting locations,                          pay any additional amounts; and
Deming and Animas, were many miles apart and the supervi-
                                                                                    also revised the benefits article to state that the exist-
sors would not be present during nonwork hours.26
                                                                                     ing retirement plan would “become a part of this con-
   Wages. The Union objected to CEC’s amended proposal to
                                                                                     tract and there will not be any future changes unless
reduce the annual wage increases to one percent. CEC ex-
                                                                                     the changes are required by law or the plan Under-
plained that it reduced the wage increases from the prior pro-
                                                                                     writer.”
posal for two reasons. First, because it had granted the unit
employees the proposed three percent wage increase for 2021                CEC’s email did not explain why it had revised the benefits
in the interim. Second, because the April 14 amended proposal              article in these respects, other than to note that no information
now moved the starting date of the contract to January 1, 2022             or comments regarding CEC’s prior proposals had been re-
and extended CEC’s current 100/80 percent contribution rate                ceived from the Union since the April 16 bargaining session.
for employee healthcare premiums through the end of that year,                The Union’s subsequent June 17 proposals:
which given expected continuing increases, would increase
                                                                                    modified its initial proposal (art. 18) to delete the
CEC’s costs of providing such benefits. CEC asserted that,
                                                                                     language preventing CEC from reducing employees’
when the wages and benefits in the amended proposal were
                                                                                     weekly earnings due to inclement weather, and to
considered together, there was no significant reduction in the
                                                                                     otherwise match the language in CEC’s proposed ar-
total employee compensation it was offering.27
                                                                                     ticle XIX on the subject.30
   401k contributions. The Union objected to CEC’s amended
proposal to lower the cap on CEC’s 401k contributions from                          “counter[ed]” CEC’s proposal regarding union stew-
“1%” to “.01%” of the employees’ base wages. CEC insisted                            ards by modifying the Union’s initial proposal (art. 5)
that there was no difference in the numbers; that they meant the                     to provide that the Union would appoint no more than
same thing.                                                                          three stewards, but retained language stating that
   Safety. Unlike the Union’s proposal, CEC’s proposal in-                           stewards would be allowed reasonable and sufficient
cluded an extensive article on safety, including sections ad-                        time to perform their steward duties without any loss
dressing drug screening and testing, clothing and personal pro-                      of pay or benefits;
tective equipment, vehicle use, cell phone usage, and discipline
                                                                                    “counter[ed]” CEC’s proposal regarding the introduc-
for violations, accidents, and collisions (art. XXV, secs. 25.1–
                                                                                     tory period by adding, “During this introductory peri-
25.14). The parties spent some time discussing several of these
                                                                                     od none of the provisions of this agreement shall ap-
sections but did not reach agreement on them.28
                                                                                     ply except that hours of work and rates of pay, in-
         C. The Remaining Months (Since April 22, 2021)                              cluding overtime shall be based on this agreement,”
   Over the next 8 months, the parties met for nine more bar-                        and deleting CEC’s proposed language giving CEC
gaining sessions, on June 18, August 6, 7, and 13, October 2,                        the right to terminate employees who successfully
15, and 29, November 20, and December 4. All were held on a                          completed the introductory evaluation period “with or
Friday or Saturday when Munoz was neither working nor on-                            without cause, warning, or notice.”
call. All were also again conducted and hosted by CEC over                    The parties discussed these amendments and counters, as
Zoom. And the same individuals attended except that Office                 well as other provisions in their proposals, at their next session
Manager Rachel Marrufo also attended most of the sessions for              the following day.
CEC, along with or instead of Morris, to help take notes.29                   Inclement weather. The Union confirmed that it was agree-
                       June 18 Session                                     ing to CEC’s proposed article on inclement weather.
                                                                              On-call pay and call-out pay. The Union also agreed to
   Both parties emailed each other some additional proposals
                                                                           CEC’s proposed article XIV regarding on-call pay and call-out
after the April 16 session. CEC emailed the Union another
amended proposed contract on April 28, and the Union emailed               pay
                                                                              Benefits. The Union did not agree to CEC’s April 28
CEC some additional revised articles on June 17.
                                                                           amended proposal regarding benefits.
   CEC’s April 28 amended proposal:
                                                                              Union representation/stewards. CEC did not agree to the
          revised its proposed benefits article (XXI) to state            Union’s June 17 counter regarding stewards. It argued that
           that CEC would pay “100%” of health and medical                 three stewards would still be half the unit and the phrase “rea-
                                                                           sonable and sufficient time” was ambiguous and lacked any
   26 Tr. 79, 183–184, 290–292, 387–388, 493. According to Google
                                                                           monitoring mechanism.
maps, Deming and Animas are 75 miles apart.                                   Introductory period. CEC also did not agree to the Union’s
   27 Tr. 80–81, 184–185, 377–385, 388–389.
   28 R. Exh. 20; Tr. 80–81, 184, 484, 489–491.
                                                                             30 Although identified as a “counter,” the proposal was identical to
   29 Tr. 46–47, 256–257. See also GC Exh. 19. Office Manager Mar-
                                                                           CEC’s inclement weather proposal.
rufo’s notes indicate that Munoz did not attend the session on August 7.
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June 17 counter regarding the introductory period. CEC argued                                  one year to two years following ratification;
that it was unacceptable because employees were not part of the
                                                                                              reducing its proposed number of union
unit during the introductory period.
                                                                                               stewards from three to two;
   Management rights. The Union again objected to CEC’s
previous, April 14 amended proposal adding a new section 3.5                                  reducing its proposed wage increases by
on common law management rights. The Union argued that it                                      $1.07– $ 1.53 in the first year, and propos-
expanded CEC’s management rights and constituted “regres-                                      ing a five percent increase ($1.26–to $1.80)
sive bargaining.” CEC responded that the addition was the                                      in the second year of the contract;
“evolution of bargaining.”
                                                                                              deleting its proposed additional language
   Discipline and grievances. The Union also repeated its ob-
                                                                                               stating that hours and wage rates for intro-
jections to CEC’s February 26 proposal giving management the
                                                                                               ductory employees would be based on the
final say on discipline and grievances without any provisions
                                                                                               contract; and
for binding arbitration as in the Union’s prior proposal. CEC
told the Union to submit a counter to the February 26 proposal                                substituting CEC’s proposed statement of
and they would discuss it.31                                                                   agreement and article on inclement weath-
                        August 6 Session                                                       er, which the Union had previously agreed
                                                                                               to, and highlighting them and the other
   About 6 weeks later, on August 2, CEC emailed the Union
                                                                                               CEC articles from the employee manual it
another amended proposed contract. The amended proposal:
                                                                                               had likewise previously agreed to regarding
         added a new section 3.6 to its proposed recognition                                  EEO, employee travel expenses, and paid
          article stating, “Neither the Union or [sic] Employer                                time off, to confirm that the Union had
          through their officers, members, representatives,                                    agreed to those provisions.
          agents, shall engage in any subterfuge of any kind for           CEC responded by email on August 5. It objected to the
          the purpose of defeating or evading terms of this             format of the Union’s August 3 proposals—that they were pre-
          Agreement”;                                                   sented as revisions to the Union’s proposed contract rather than
         added a new section 4.2 in its proposed article on un-        revisions to CEC’s proposed contract—asserting that the parties
          ion membership stating, “Non-Coercion of Employ-              should continue negotiating “based on the Cooperative’s com-
          ees—The Union and its agents, shall not coerce em-            prehensive agreement.” It argued that negotiating from the
          ployees into membership in the Union and shall not            Union’s proposed contract would “certainly set the negotiations
          solicit membership in the Union during the working            back” and was “likely to result in piecemeal bargaining” as it
          hours of any employee”;                                       did “not include all mandatory subjects of bargaining.”
                                                                           The Union replied shortly after. The Union explained that its
         also added a new section 4.3 in the same proposed ar-         August 3 revised proposed contract was a “counter” to CEC’s
          ticle stating, “The Union agrees that neither it nor any      August 2 amended proposed contract, which the Union asserted
          of its officers or members will intimidate or coerce          was an “expansion on” the Cooperative’s original and subse-
          employees into membership in the Union. If any dis-           quent proposals. The Union also disputed CEC’s assertion that
          pute arises as to whether there has been any violation        the parties had been bargaining based on the Cooperative’s
          of this pledge, it shall be handled in accordance with        proposed contract, as it had “not agreed to that at any point.”32
          the Disciplinary [sic] outlined in this agreement”; and          The parties continued to discuss the matter when they met
         added a new section 13.2 in its proposed article on           for their next session the following day. They agreed to look at
          overtime rates of pay stating, “Overtime not to be            both of their proposed contracts to determine what was manda-
          offset by compensating time off. Employees who                tory or permissive and what could be agreed upon and
          have worked overtime shall not be given time off              “merged” or “combined.”
          without pay on a regularly scheduled workday to                  The parties then went through and discussed a number of the
          equalize overtime.”                                           articles in each proposal. And they reached agreement regard-
                                                                        ing the following three subjects.
Again, there had been no prior discussion with the Union re-               Dues checkoff. CEC asserted that the Union’s proposed dues
garding the amended proposal, and CEC’s email did not ex-               checkoff provision was a permissive subject of bargaining,33
plain the reasons for it.                                               and the Union agreed to remove/withdraw the provision.
   The following day, August 3, the Union emailed its own re-
vised proposed contract to CEC. The Union’s proposal revised               32 Jt. Exhs. 8, 9; GC Exh. 16; Tr. 85, 186, 188.
its initial September 25, 2020 proposed contract and subsequent            33 CEC’s assertion that dues checkoff is a permissive subject was in-
June 17 counters by:                                                    correct. It is well established, “[p]ursuant to Board and court decisions,
                                                                        [that] dues checkoff is a matter related to ‘wages, hours, and other
                    lengthening its proposed contract term from
                                                                        terms and conditions of employment’ within the meaning of the Act
                                                                        and is therefore a mandatory subject for collective bargaining.” Trib-
  31 Jt. Exhs. 6, 7; GC Exh. 19; R. Exh. 21; Tr. 185–186, 391–397,
                                                                        une Publishing Co. v. NLRB, 564 F.3d 1330, 1333 (D.C. Cir. 2009).
442. Regarding on-call pay and call-out pay, see Tr. 202–204, and Jt.   See also CJC Holdings, Inc., 320 NLRB 1041, 1046 (1996).
Exh. 10, discussed infra.
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    Introductory period. The parties agreed on provisions that                                      August 7 Session
did not include either the Union’s previously proposed lan-                   The parties met again the next day. CEC began by review-
guage stating that hours and wage rates for introductory em-               ing and summarizing the previous day’s discussion. The par-
ployees would be based on the contract, or CEC’s language in               ties then discussed the following subjects.
its initial proposal allowing management to terminate an em-                  Safety. CEC suggested starting with its proposed article
ployee who successfully completed the introductory evaluation              XXV on safety. The Union agreed to a couple of the sections
period “with or without cause, warning, or notice.”                        in the article in whole or in part. However, it objected, ex-
    Light duty. The Union agreed to CEC’s proposal on light du-            pressed concerns, and/or requested more information about
ty (art. VIII), which gave management discretion whether to                other sections. A question also arose about proposed section
provide temporary light duty work to an employee and limited               25.5. The section stated that CEC would provide 11 flame-
the duration.                                                              retardant shirts and pants to the linemen, but CEC advised that
    The parties also discussed but did not reach agreement on              it had recently reduced the number it provided from 11 to 9.
several other subjects, including the following.                           CEC explained that it had done so because it recently switched
    Management rights. The Union objected to CEC’s proposal                to a different laundry service and reduced the number under the
because it contained “doublespeak” and gave management                     new service contract to reflect that the linemen were now work-
authority to unilaterally change too many policies. CEC ob-                ing four rather than five days a week. The Union said it would
jected to the Union’s proposal because it attempted to restrict            oppose changing from 11 to 9.
and limit management’s “inherent” rights and included too                     Discipline. There was also some discussion of discipline in
many broad and undefined terms.                                            the context of the safety article; specifically, provisions in the
    Discipline and grievances. The Union repeated its objection            article specifying levels of discipline for certain rule violations
that CEC’s proposal gave the general manager final say over                (e.g., locking company vehicles) and vehicular accidents and
discipline and grievances with no provision for any type of                collisions. The Union objected to the provisions, stating that it
arbitration. CEC said that it would “consider” agreeing to arbi-           was “never in favor” of “predetermined discipline.” CEC said
tration; that it was “researching” mediation “as a resolution              there needed to be some guidelines for employees to understand
alternative”; and that it had not “closed the door” on this.               and reference. The Union said it would “take a shot” at revis-
However, it said the time periods for filing and processing                ing the language.
grievances in the Union’s proposal were too long. The Union                   Seniority. The session concluded with a brief discussion of
said it was open to reducing them.                                         seniority. The Union raised the subject, noting that it was ad-
    Working hours and work week. CEC said it would not agree               dressed in article 17 of its proposal but not in CEC’s proposal.
to the Union’s proposal to “narrow” the normal workweek                    CEC said the Union’s proposed article did not serve any pur-
(Mon–Thurs, or Tues.–Fri.) as it would expose the Cooperative              pose because it just defined the types of seniority (job and
to additional financial obligations.                                       company) and when it would terminate (when the employee
    Commercial driver’s license. The Union took issue with                 quits, is discharged for just cause, etc.), and there was no refer-
CEC’s proposed article XXII regarding CDL licenses because                 ence to it in any of the other articles of the proposed agree-
it required the linemen to pay for all costs associated with their         ment.35
license and required physical examination. The Union asserted
that CEC was the only employer that did not pay these costs.                                        August 13 Session
CEC responded that it could include the costs in its analysis of              The parties met again a week later and discussed the follow-
total employee compensation costs.                                         ing subjects.
    The parties also discussed CEC’s August 2 amend-                          Working hours and workweek. The parties continued their
ments/additions. The Union argued that there was no justifica-             previous discussion of working hours and work week. CEC
tion for the proposed new sections 3.6, 4.2, 4.3, and 13.2. The            acknowledged that the linemen had been working a 4/10 sched-
Union argued that the term “subterfuge” in 3.6 was vague, and              ule for almost two years. However, CEC said it would not
that the conduct prohibited in the other sections was covered by           agree to the Union’s proposal to limit or impede management’s
federal law. CEC responded that the additional sections were               flexibility to change the schedule, which it believed was just a
needed to satisfy the Cooperative’s concerns. As an example of             mechanism to create more overtime periods. CEC asked the
“subterfuge,” it cited an employee “slow-walking” his work.                Union if they were at impasse on the subject. The Union said
The Union replied that the amendments expanded on CEC’s                    no, they needed to work together on language that they could
earlier proposals and were unacceptable.34                                 agree on.
                                                                              Discharge and suspension. The parties then discussed
   34 R. Exhs. 26 (notes of Aug. 6 session), 27 (notes of Aug. 7 session   CEC’s proposed article IX on discharge and suspension. CEC
summarizing Aug. 6 session); Tr. 85–86, 186–189, 292–295, 398–399,         said the listed examples of conduct warranting termination
470–471. At the hearing, Martinez testified that he added section 4.2      were intended to define egregious behavior. The Union object-
because it “came to my attention that union personnel were going to        ed to the first example (“willful disregard of, or refusal to com-
nonunion personnel at their workstations and talking to them about the     ply with, . . . rules or proper order of instruction”) because an
Union during company time,” and section 4.3 because “we had some
                                                                           employee might do so for safety reasons, and the last (“any
new hires and [we wanted to] make sure nobody was being intimidated
into joining the Union” (Tr. 399). However, it is unclear if he specifi-
                                                                                35 R. Exh. 27; Tr. 95, 358, 461, 471.
cally expressed these concerns to the Union.
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other serious infraction”) because it was vague and could in-       the last section of the discharge and suspension article, which
clude anything CEC wanted. The Union also objected to the           stated that any disciplinary action “shall be deemed final,” even
last section of the article stating that any disciplinary action,   though the Union had objected to and disagreed with it at the
including discharge, “shall be deemed final.”                       previous session. And CEC did not highlight in grey the arti-
   CEC said it would “look at” the safety issue. However, it        cles regarding the contract term, benefits, or wages, even
argued that all discipline “has to” conclude and be deemed final    though they had previously been discussed.37
within the organization; that there was “no way” to conclude           The parties met for their next session the following day.
the disciplinary process external to the company; and that if the   They discussed numerous articles and subjects, including the
Union wanted to “appeal” a disciplinary decision it could file a    following.
charge with the NLRB.                                                  Union representation/stewards. The Union immediately
   Benefits. The parties then discussed benefits. CEC ex-           questioned why CEC had struck through the Union’s article on
plained that its April 28 amendment added fixed numbers and         union representation/stewards in the Union’s table of contents.
caps on healthcare contributions over the 3-year contract term      CEC responded that it considered the subject nonmandato-
for budgeting and financing purposes. CEC said it could not         ry/permissive but would highlight the article in grey to indicate
agree to the Union’s “maintenance of benefits” proposal (art.       it was discussed but not agreed to.
21) as it placed all the risk of increased future costs of             Union recognition. The Union continued to object to CEC’s
healthcare on the Cooperative.                                      proposed article on union recognition because it included man-
   The Union responded that its proposal was only for a 2-year      agement rights provisions. CEC said it would consider moving
period. It also again asked about CEC’s April 14 amendment          them to the management rights article. The Union also again
changing the 401k contribution cap from “1%” to “.01%”.             objected to CEC’s added section prohibiting any “subterfuge”
CEC again insisted that the numbers were the same, telling the      to defeat or evade the contract because it was too vague. CEC
Union to “Google it.” However, CEC said it could put “1%”           said it meant “undermining” the contract. The Union asked how
back in to make it clear. The Union said CEC should do so if        it would be enforced. CEC said the same way as other contract
that was its intent.                                                violations, through CEC’s proposed grievance procedure with
   The parties then concluded the session with a discussion of      the manager’s decision being final and binding.
the job description for journeymen linemen.36                          Union membership. The Union said the first section in
                        October 2 Session                           CEC’s proposed article regarding “voluntary” union member-
                                                                    ship was not itself objectionable. However, the Union objected
   About 6 weeks later, on October 1, CEC emailed the Union         to the second section because it prohibited the Union from so-
another amended proposed contract. The amended proposal
                                                                    liciting during working hours. And the Union said the third
continued to cap CEC’s 401k contributions at “.01%” rather          section was unacceptable because it gave the manager final and
than “1%” as originally proposed in the benefits article. How-      binding authority to impose discipline for violations.
ever, it:                                                              Discharge and suspension. The Union stated that it contin-
         revised CEC’s proposed section 25.5 in the safety ar-     ued to disagree with CEC’s proposal regarding discharge and
          ticle to reduce the number of CEC-provided flame-         suspension. It objected to CEC indicating otherwise by high-
          retardant shirts and pants from 11 to 9.                  lighting it in yellow.
                                                                       Discipline and grievances. CEC said it had “looked at” arbi-
         struck through both CEC’s own proposed article V          tration but it would require including a “matrix of discipline”
          regarding union representation/ stewards and the Un-      and “expanding” it to bring “clarity”; otherwise, they would be
          ion’s proposed article 5 on the same subject (by strik-   “in a perpetual state of arbitration.”
          ing through the article on an attached copy of the Un-       Strikes, stoppages, and lockouts. After some discussion, the
          ion’s table of contents), even though there had been      Union agreed to CEC’s proposed article XXXI on strikes, stop-
          no agreement between the parties that these provi-        pages, and lockouts.
          sions were nonmandatory/permissive or should be de-          Employment, demotion, and transfer. The Union objected to
          leted/ withdrawn; and                                     CEC’s proposed article VII on employment, demotion, and
         also struck through the Union’s proposed article 17       transfer because it made no provision for seniority. The Union
          on seniority (again, by striking through the article on   said it would submit a counter to CEC’s proposal.
          the attached copy of the Union’s table of contents),         Wages. The Union objected that CEC’s proposed wage rates
          even though the Union had not agreed to de-               were “way too low,” and offered to send CEC the consumer
          lete/withdraw that article.                               price index and some information on current line rates. The
                                                                    Union said it knew CEC was losing employees to another com-
   CEC also highlighted its amended proposal, both in the table     pany (PNM) due in part to CEC’s low wages. It also said that it
of contents and the text, to indicate which articles the parties    knew CEC was using contractors that were compensated signif-
had agreed on (yellow), and which the parties had discussed but     icantly more than the unit employees.
not agreed on (grey). However, the highlights were inaccurate
                                                                       CEC responded that it considered total compensation, in-
in certain respects. For example, CEC highlighted in yellow
                                                                    cluding benefits, in making its wage proposal, and that it was
     36 R. Exhs. 22, 28; Tr. 461–462, 485.
                                                                    37 Jt. Exh. 10; Tr. 88–100, 217–218, 302–303.
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not as concerned as the Union about losing employees. As for                ever, it asserted that management rights and third-party con-
using contractors, CEC said that, like other utilities and electri-         tracts were not, and that CEC’s third-party contracts had “no
cal cooperatives, it had been doing so for years. CEC said they             material impact” on the unit employees’ wages, hours, or work-
were used for various reasons, such as to cover incremental                 ing conditions. CEC stated that the Union should consider this
increases in work due to storms and microbursts that take out               to be CEC’s “final response” to the information request.
poles and cause power outages, and short-term projects that the                The Union replied shortly after. The Union stated that “in-
existing unit employees do not have the time to cover because               creasing the unit employees is important to them,” and the Un-
of their regular work. CEC said it couldn’t hire additional full-           ion had “received feedback that the ‘contractor employees’ are
time employees for such incremental and short-term work be-                 making substantially more than that of the Cooperative em-
cause there wouldn’t be enough work for them to do after that               ployees.” The Union asserted that the requested information
work was done. Finally, CEC said it did not have access to the              was therefore “clearly relevant,” and indicated that it would file
contractors’ payroll documents and was not privy to their em-               an unfair labor practice charge with the NLRB.39
ployees’ terms and conditions of employment. The Union re-                                         October 15 Session
plied that it would send CEC a written information request.38
                                                                               A few days later, on October 14, CEC emailed the Union an-
              Union’s October 4 Information Request                         other amended proposed contract. The amended proposal mod-
   Two days later, on October 4, the Union emailed CEC a                    ified CEC’s proposed article X on discipline and grievances in
copy of the consumer price index showing cost of living in-                 the following respects.
creases by city and regional area, as well as charts showing the
                                                                                       The amended proposal modified the first sentence of
current average hourly line rates. The email also included the
                                                                                        section 10.2, which addressed management’s right to
Union’s request for information regarding CEC’s use of con-
                                                                                        impose disciplinary sanctions, to reference a “disci-
tractors to perform unit work. Specifically, it requested “the
                                                                                        plinary matrix” that was attached as exhibit H to the
number, classification and wage rates each of the contractors
                                                                                        proposal. The matrix, which had been approved by
are filling that involves work being done that was formerly
                                                                                        the CEC board of trustees, listed numerous “offens-
performed by Unit employees.” It also requested “the business
                                                                                        es” with corresponding “penalties” (verbal warning,
name of these contractors” and the number of workers “they
                                                                                        written warning, four-day suspension without pay, or
have performing the work.” The email indicated that the Un-
                                                                                        discharge) that “shall be imposed” “depending on the
ion was requesting this information because, as discussed at the
                                                                                        gravity of the offenses” (A-light, B-moderate, C-
October 2 session, it had just become aware that CEC was em-
                                                                                        serious, or D-grave) and the number of times it had
ploying contractors to perform unit work, and it understood that
                                                                                        been committed. For example, the matrix indicated
the contractors were paying a higher wage rate than the wage
                                                                                        that the first grave offense would warrant discharge
rates of the unit employees. The email requested that the in-
                                                                                        and listed 52 such offenses.40 Whereas the matrix in-
formation be provided no later than the next bargaining session
                                                                                        dicated that the first serious offense would warrant
on October 15.
                                                                                        four days suspension without pay and listed 28 such
   CEC responded shortly after. CEC repeated that it “employs
                                                                                        offenses.41 However, the amended proposal retained
contractors on a regular basis and has done so for many years.”
CEC also stated that it had “not implemented a reduction in                    39 Jt. Exhs. 12, 13.
force resulting in the loss of jobs”; that it was “the sole and                 40 Grave offenses listed in the matrix included, among other things,
exclusive manager of its business,” with “the rights and au-                stealing, altering or falsifying a time record, circumventing any compa-
thority to manage its operations and affairs, including determin-           ny policies or processes to favor oneself, breaching management’s
ing the character, extent or methods of its operation”; and that            trust, disclosing restricted or classified information, dishonesty in any
the requested information “is not relevant to discipline or con-            form, culpable acts or omissions causing damage to the cooperative’s
tract negotiations.” CEC therefore “denied” the information                 interest, violating the no-strike clause, insubordination, displaying bad
request.                                                                    manners such as the use of abusive or insulting language, fighting,
   The Union replied a week later, on October 11. The Union                 harassment, carrying firearms on the premises or job site, drinking
                                                                            alcohol at work, using drugs, refusing to submit to a drug test, noncom-
said the requested information was relevant to the parties’ on-             pliance with safety and security requirements, deliberately hiding a
going negotiations over wage rates. Based on CEC’s response,                contagious disease, engaging in a romantic obscene relationship on
it also indicated that the information was relevant to CEC’s                cooperative time, failing to maintain a class A CDL driver’s license,
management rights proposal. The Union reaffirmed that it                    unauthorized use of a company vehicle, and an at-fault rear end colli-
expected the requested information to be timely provided.                   sion.
                                                                                41 Serious offenses included, among other things, defacing any part
   CEC responded shortly after. CEC agreed that the unit em-
ployees’ wages were a mandatory subject of bargaining. How-                 of company property, improper use of company facilities or materials,
                                                                            illegal gathering by meeting for a lawful or unlawful purpose in a man-
      38 R. Exhs. 18, 23, 29; Tr. 157, 159, 234, 431–438, 462, 481, 485.
                                                                            ner likely to impair the peace and tranquility of the organization, refusal
                                                                            to accept a change of work shift/area; uttering remarks, doing acts, or
The parties also discussed a number of other articles in CEC’s proposal
                                                                            making gestures to a superior, libel or slander, rumor mongering by
at the end of the session, including a savings clause, waiver clause, and
                                                                            deliberately spreading malicious/false rumors against employees, offi-
articles on the scope of the agreement and captions and headings, but
                                                                            cials, or guests concerning personal affairs, and sexual harass-
the Union did not agree to them. CEC also stated that it would with-
                                                                            ment/abuse. The matrix also provided that serious offenses would
draw, as duplicative, a proposed article on wage and price regulations.
                                                                            remain on the employee’s record for 18 months before being
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          the language in article IX, section 9.2 stating that any         In other significant respects, CEC’s amended proposal was
          “serious infraction” would result in “immediate ter-          substantively the same as the previous one. For example, it still
          mination.”                                                    included section 3.5 stating that CEC retained all “inherent
                                                                        common law management functions and prerogatives” not
         The amended proposal deleted the last sentence of
                                                                        waived in the agreement. And the 401k provision still capped
          section 10.2 stating that CEC could “impose, modify
                                                                        CEC’s contributions at “.01%” rather than “1%.”
          or terminate any or all conditions of employment and
                                                                           The following day, at the parties’ next bargaining session,
          . . . terminate any employment relationship, benefit or
                                                                        the Union emailed CEC two additional proposals. The pro-
          compensation for no reason or for any reason the Co-
                                                                        posals:
          operative determines to be desirable, with or without
          cause.” However, it retained the second sentence stat-                 countered CEC’s proposed article on employment,
          ing that CEC could impose disciplinary sanctions, up                    demotion, and transfer by, among other things, pro-
          to and including discharge “for any . . . reason deter-                 posing that external candidates would be considered
          mined to be in the best interests of the Cooperative.”                  for vacancies only after internal candidates have been
          It also retained, and strengthened, the third sentence,                 exhausted; that seniority would be the determining
          which now stated that, “notwithstanding any lan-                        factor for filling vacancies and transfers if employees
          guage in this section or elsewhere in this agreement                    were otherwise equal; and that seniority would also
          to the contrary, it is understood that, to the fullest ex-              prevail in layoffs and reductions in hours.
          tent permissible, employment with the Cooperative is
                                                                                 countered CEC’s proposed savings clause (art.
          ‘at will.’”
                                                                                  XXVII) addressing what would happen if a portion of
         The amended proposal added a new section 10.3 ti-                       the agreement was invalidated.
          tled “disciplinary appeal to the “Federal Mediation
                                                                           The parties spent most of the October 15 session discussing
          and Arbitration Service” [sic].42 The new section
                                                                        their forgoing proposals.
          stated that an employee or the Union could “file a pe-
                                                                           Discipline and grievances. The parties had a lengthy discus-
          tition with [CEC] for mediation with the Federal Ar-          sion of CEC’s October 14 proposed changes to article X. CEC
          bitration and Mediation Service” [sic] if dissatisfied
                                                                        said it revised the first sentence of section 10.2 and added the
          with a final disciplinary decision that resulted in           matrix to indicate what would constitute “just cause.” The
          leave without pay or termination. However, it stated          Union objected to these changes because they significantly
          that CEC had “discretion” to decline to mediate grave
                                                                        expanded CEC’s prior proposals, listed numerous broadly
          offenses. It also stated that the employee or Union
                                                                        worded and subjective examples, and set predetermined disci-
          would be “responsible for any and all fees incurred as
                                                                        pline without accounting for mitigating factors relevant to “just
          a result of the appeal.” And it stated that manage-
                                                                        cause.” The Union indicated that it would submit a counter.
          ment’s decision would “remain in effect” if no
                                                                        The Union also rejected CEC’s other changes to article X be-
          agreement is reached after the parties have participat-
                                                                        cause they continued to give management the final say over
          ed in good faith in the mediation process, i.e., it did
                                                                        both discipline and grievances.
          not include any additional provisions for arbitration.
                                                                           Employment, demotion, and transfer. CEC disagreed with
         The amended proposal modified the section describ-            the Union’s counterproposal on employment, demotion, and
          ing the grievance procedure (now sec. 10.5). It added         transfer. CEC noted that it might be looking for a different skill
          an opening sentence stating, “A grievance must be             set, and that following seniority in reductions in force might
          filed within 2 calendar days of the alleged event or          require an employee to move.
          action that is the basis for the grievance.” It also mod-        Healthcare insurance benefits. At the end of the session,
          ified and more fully described the first, “informal dis-      CEC notified the Union that the insurance provider would be
          cussion” step of the internal grievance process, elimi-       significantly increasing the costs of the current healthcare plan.
          nating previous language limiting such discussions to         CEC said it was working on proposals and investigating alter-
          the end of the workday. However, it retained the pri-         natives, and that it would discuss them with the Union during
          or language describing the second and third steps, in-        the next bargaining session on October 29.43
          cluding that the general manager’s decision “is final                         Union’s October 22 ULP Charge
          and binding,” i.e., it likewise did not include any ad-
                                                                           A week later, on October 22, the Union filed the unfair labor
          ditional provisions for arbitration.
                                                                        practice charge in this case. The charge alleged that CEC had
                                                                        refused to bargain in good faith over the previous 6 months in
“cleansed.” Moderate and light offenses would remain on the record      violation of Section 8(a)(5) and (1) of the Act by engaging in
for 15 and 12 months, respectively.                                     surface bargaining and regressive bargaining, and by refusing
   42 This apparently referred to the Federal Mediation and Concilia-
                                                                        to provide requested information about contractors performing
tion Service (FMCS), which provides arbitration as well as mediation
                                                                        unit work.
services.      See       29       CFR        Part     1404       and
https://www.fmcs.gov/services/arbitration/. However, other than mis-
                                                                          43 Jt. Exhs. 11, 14; R. Exh. 24; Tr. 102–104, 225–228, 424–428,
naming FMCS, there was no mention of arbitration in CEC’s amended
proposal.                                                               485–486.
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                        October 29 Session                          end of the session. CEC said it wanted to finish working
   The parties met for their next session a week later, on Octo-    through the entire agreement by the end of the year, and that it
ber 29, and discussed the following articles/subjects.              would send the Union Zoom invitations to meet every day ex-
   Healthcare benefits. The session began where the previous        cluding Sundays and holidays for the next 60 days if necessary
session ended, with a discussion of increasing healthcare insur-    to do it. However, the Union reminded CEC that it would not
ance costs. CEC provided the Union with the results of its re-      allow Munoz to attend on days when he was scheduled to work
search into the available options and insurance providers. CEC      or be on call. The Union said it was difficult to meet without a
said it had not reached a decision yet but was leaning toward       unit member present. CEC responded that this was “a Union
renewing with the current provider as it was clearly the best       issue.” The Union replied that it would be willing to pay
choice notwithstanding the increase in costs.                       Munoz’s wages so he could attend. However, CEC declined,
   CEC also advised that, in light of the increase, it was work-    saying there was no existing “provision” or “mechanism” for
ing on some more “preliminary amendments” to its last, April        Munoz to attend other than taking 30 days leave without pay.44
28 amendment to the benefits article, which had proposed pay-                              November 20 Session
ing 100 percent of the premiums up to a fixed cap. CEC indi-           The parties met for their next session three weeks later, on
cated that it had made those amendments because its other,          November 20, and discussed the following articles/subjects.
nonunit employees had indicated they wanted the Cooperative            Healthcare benefits. CEC informed the Union that the Co-
to pay 100 percent of the health insurance and were willing to      operative would be renewing with the current provider for the
forgo any salary increase if it did so; however, the Union was      nonunit employees. The Union said it expected CEC to main-
seeking wage increases for the unit employees so there needed       tain the status quo ante “to keep everything the same” for the
to be caps on CEC’s contributions in order for there to be wage     unit employees until the contract was negotiated.
increases in the total compensation package, i.e., the caps on         Wages. The Union argued that CEC was currently at the
healthcare contributions were needed to “offset” wage increas-      bottom of the wage structure. CEC responded that wages were
es. CEC said it was “really indifferent” to how the Union           only one component of compensation; that benefits were also
wanted to “structure the economics”; but the Cooperative had a      part of compensation; and that the Cooperative was “no way
“bottom line” number. The Union said it would wait to see           near the bottom” when total compensation, including the Coop-
what CEC did with the nonunit employees.                            erative’s defined benefit retirement plan, was considered. CEC
   Management rights, grievances, and discipline. The Union         said that if it increased wages, it would have to contribute less
again objected to CEC’s October 14 amended proposal on              to benefits, and the Union was asking too much to still maintain
management rights, grievances, and discipline, asserting that it    the same level of benefits.
continued to provide that “management is right in all cases.” It       The Union also again argued that CEC was losing employees
asserted that “no self-respecting union” would agree to such a      to other companies and was paying more to contractors. CEC
“ridiculous” proposal, and that no other union agreements ex-       replied that some employees prefer higher wages rather than
isted with such an “onerous” management rights clause and           benefits. Regarding contractors, it admitted that using them
grievance and discipline procedure.                                 cost more, but said they were used for work that comes and
   CEC agreed but proposed that they “sit and talk about it.”       goes and CEC’s current workforce could not perform that work
CEC explained that it was trying to “minimize conflict” by          and still do their regular work, no matter what CEC paid them.
making it clear to employees what the offenses and penalties        The Union responded that if CEC paid more in wages, it could
were. CEC said that providing such “clarity” would “make            retain employees and not have to contract the extra work out.
mediation and arbitration an acceptable option”; that “arbitra-     CEC said that was not realistic; that paying the unit employees
tion will require clarity” and the Union’s proposal was “just not   more would not “magically” enable them to cover the extra
detailed enough.” The Union replied that CEC was failing to         work.
consider what was “fair treatment”; that CEC’s propose disci-          Discipline. The Union stated that it was “working on” a dis-
plinary matrix was “not reasonable” and would not give em-          cipline matrix to counter CEC’s “expansive” one and should
ployees “a fair shot to begin with.”                                have it by the next session. CEC responded that having a ma-
   CEC disagreed. It repeated that it was “not opposed” to          trix was “fundamental to getting where you want to go, which
binding arbitration “except that there needs to be equity when      is binding arbitration”; that “after some research,” it was “not
we get there”; “we need clarity and those kinds of things that      opposed” to binding arbitration “so long as there is sufficient
make it work.” CEC said that at a future meeting they could         clarity in the contract.” The Union replied that it did “not look
“dissect” their competing proposals further and agree to some       at it in the same manner” CEC did; that CEC seemed to have an
“common language.” The Union responded that it had agreed to        “exhaustive list of predetermined discipline” that “allowed no
CEC’s proposed language in a number of articles, but CEC had        room for the supervisor to make a determination based on the
not agreed to a single Union proposal to date.                      specific situation.”
   Commercial driver’s license. The Union stated that it tenta-        CEC said it understood but needed to know if the Union was
tively agreed to CEC’s proposed Article XXII requiring em-          providing CEC “that sort of latitude” with “lower level disci-
ployees to pay for the costs of getting their CDL licenses.         pline.” CEC said, “[S]o long as we are not finding ourselves in
   The parties also again discussed the difficulty of scheduling
sessions around Munoz’s work schedule. The issue came up                 44 R. Exhs. 25, 30; Tr. 463, 481–482, 486.
during the discussion of healthcare insurance and again at the
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binding arbitration in these situations, then [we’re] good.” The      and the session ended.
Union replied that it was not interested in arbitrating coaching         Two days later, on December 6, the union sent an email to
sessions or other actions that were not written or formalized         CEC. The email did not specifically mention reaching an “im-
and had no negative consequences. However, the Union said it          passe” at the last session. However, it stated that both parties
could not exempt from arbitration any discipline that would be        had rejected any of each other’s proposals that had not previ-
placed in the employee’s file. CEC said it understood.                ously been accepted. It also added, “At this time the Union is
   The parties also again discussed the bargaining schedule and       unwilling to accept the rest of the Cooperative’s proposals for
Munoz’s availability. CEC said it had sent out Zoom invitations       the reasons we have previously stated and we will be contacting
to meet “from here to the end of the year.” The Union asked           the FMCS agent.”
which of those days Munoz could be available. CEC replied                CEC responded the following day. It described in detail its
that he could take “accrued time.” The Union argued that all          version of what was discussed on December 4. It asserted that
CEC had offered were days and times it knew the Union could           the Union had said it believed the parties had reached an im-
not meet because Munoz could not be available. CEC told the           passe and asked if CEC agreed with that assessment, which
Union to provide a list of dates and hours it was available if        CEC did. It stated that, having bargained to an impasse, the
CEC allowed Munoz to take time off work without pay. The              parties were “now not legally obligated to meet and bargain
Union said it would do so in the next few days.45                     further.”
                        December 4 Session                               The Union replied a few days later, on December 10. It de-
                                                                      tailed its own version of what occurred at the December 4 ses-
   The parties met for their next and final session about two         sion. It confirmed that it said there was no more movement and
weeks later, on December 4. In the interim, in light of the dis-      the parties were at impasse. However, it denied that CEC had
cussion at the November 20 session, the Union decided not to          bargained in good faith prior to the impasse, citing the bad-faith
make a counter to CEC’s disciplinary matrix. However, on the
                                                                      bargaining charges the Union had filed against CEC. (It also
morning of the December 4 session, the Union did email CEC            noted that CEC had filed bad-faith bargaining charges against
another counter on its proposed savings clause. As for CEC, it        the Union.) It also reminded CEC that the Union had discussed
did not email the Union anything before the session except            contacting FMCS to obtain a mediator.
another copy of its October 14 amended proposed contract and             CEC responded shortly after, stating, “The Cooperative
the parties’ respective tables of contents with updated high-         acknowledges your communication confirming both parties
lights and strikethroughs (several of which remained incorrect).      declared an impasse at the December 4, 2021 negotiating meet-
   The Union began the session (after again noting the incorrect      ing.” 46
strikethrough of its proposal on union representation) by listing
the articles in CEC’s amended proposal that it was rejecting.                                    II. ANALYSIS
These included articles II (contract term), III (union recogni-          Sections 8(a)(5) and 8(d) of the National Labor Relations
tion), IV (union membership), VI (management rights), VII             Act require employers to bargain with a duly elected or recog-
(employment, demotion, and transfer), X (discipline and griev-        nized union “in good faith.” This means they must bargain
ance), including exhibit H (the proposed disciplinary matrix),        with a sincere intent to enter into a collective-bargaining
XI (working hours and work week), XII (overtime), XIII (over-         agreement. They may engage in hard bargaining to get the
time rates of pay), XXIII (wages), XXIV (apprenticeship train-        agreement they want—section 8(d) specifically states they are
ing program), and XXIX (scope of agreement).                          not compelled to agree to a union proposal or make a conces-
   The Union also noted that its benefits proposal (art. 21) re-      sion—but they may not bargain to avoid or frustrate the possi-
mained different than CEC’s benefits proposal (art. XXI). The         bility of any agreement. See Altura Communication Solutions,
Union stated that it believed CEC had rejected that and all the       supra, 369 NLRB No. 85, slip op. at 1 and cases cited there.
other proposed articles CEC had highlighted in grey on the               As discussed earlier, determining which strategy a respond-
Union’s table of contents. These included articles 1 (basic           ent employer has chosen—lawful hard bargaining or unlawful
principles), 3 (recognition and maintenance of membership), 6         bad faith bargaining—requires examining all the circumstances
(management rights), 7 (grievance and arbitration), 8 (working        during the parties’ entire course of negotiations. Here, as indi-
hours and work week), 9 (overtime), 10 (overtime rates of pay),       cated by the General Counsel, there are a number of circum-
11 (overtime meals), 20 (waiver clause), and 23 (wages). CEC          stances indicating that CEC was bargaining in bad faith.
said, “Yes, you can consider those rejected.”
                                                                           1. Failing to timely respond to the Union’s requests to
    “So, at this point,” the Union concluded, “it’s time to call in
                                                                                              begin negotiations
FMCS.” CEC responded that it would “declare an impasse if
that’s what you’re saying.” It asked for clarification, saying,          CEC repeatedly delayed responding to the Union’s requests
“So at this point both parties have declared an impasse and all       to begin negotiations. It did not respond for over a month to
that goes with it, correct?” The Union said “yes,” it was             the Union’s initial June 25, 2020 email requesting available
“aware of the implications.” CEC told the Union to put it in          dates to “start meeting to work out the details of a contract,”
writing. CEC said it would then “send an acknowledgment that          and only after the Union sent a second request on July 29.
we agree that we have reached an impasse.” The Union agreed           Further, CEC’s response at that time failed to provide any

  45 R. Exh. 31; Tr. 434, 463–464                                       46 Jt. Exhs. 15, 16; R. Exh. 32, GC Exhs. 17, 18; Tr. 239, 464, 471–

                                                                      472.
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available dates, but simply stated that it was not willing to meet      communicated with Strand about scheduling meetings, did not
“in person” due to the risk of COVID-19 infection. And when             testify.
the Union replied the next day, suggesting that they meet elec-            Accordingly, I discredit Martinez’s explanation. Based on
tronically and repeating its request for available dates, CEC           the record as a whole, I infer and find that the true reason CEC
again did not respond until well over a month later, on Septem-         insisted to impasse on recording was to disrupt the initial bar-
ber 10, and only after the Union’s attorney called and threat-          gaining session and further delay the negotiations.49
ened to file an unfair labor practice charge.                               3. Refusing to bargain pending resolution of the Union’s
   CEC’s posthearing brief (p. 5) blames the delay in schedul-                                      ULP charges
ing the first session on “the COVID-19 pandemic and the diffi-
culty in coordinating the initial bargaining session to ensure             Despite the clear Board precedent against its position on re-
everyone’s safety because of the New Mexico Governor’s re-              cording bargaining sessions, CEC declined the Union’s request,
strictions.” However, there is no record evidence that this was         shortly after it filed the initial October 22 charge, to provide
the reason for CEC’s failure to timely respond in any way to            additional dates to meet. Nor did it submit a written counter-
                                                                        proposal to the Union’s September 25 proposed contract. It
the Union’s repeated requests in June and July for available
dates to begin bargaining. CEC presented no evidence that it            was not until months later, in late February 2021, after the Un-
was unable during that period to timely receive and respond to          ion’s charges were settled, that CEC agreed to meet again and
emails and otherwise manage and operate the electrical cooper-          emailed a counterproposal to the Union.
ative and handle its personnel matters due to the COVID-19                 This conduct was likewise inconsistent with longstanding
pandemic.47 Nor did it introduce any evidence that General              Board precedent and further evinces CEC’s intent to delay the
Manager Martinez, Attorney Long, and/or HR Supervisor Mor-              negotiations and avoid reaching a contract. See Gagnon Plat-
ris even considered any options regarding how and when to               ing & Mfg. Co., 97 NLRB 104, 111 (1951) (“The law is well-
                                                                        settled that filing of charges [does] not suspend the operation of
begin bargaining with the Union during that period. In short,
COVID appears to be just a “convenient excuse.”48                       the Act, nor relieve an employer of his duty to bargain,” be-
   In agreement with the General Counsel, therefore, I find that        cause otherwise “an employer might give lip service at the
CEC’s delay in responding to the Union’s requests to begin              bargaining negotiations until a charge was filed and thereafter
bargaining is substantial evidence of an intent to avoid reaching       refuse to participate further in negotiations”). See also Pine
any agreement. See, e.g., Kitsap Tenant Support Services, 366           Manor Nursing Home, 230 NLRB 320, 326 (1977), enfd. 578
NLRB No. 98, slip op. at 5–8 (2018), enfd. per curiam 2019              F.2d 575 (5th Cir. 1978).
WL 12276113 (D.C. Cir. April 30, 2019), and cases cited there.                 4. Making proposals that deprived the Union of its
                                                                                                representational role
2. Insisting to impasse on recording the first bargaining session
   When the parties eventually did meet on September 25 to                 When CEC finally did make its first proposal in late Febru-
begin contract negotiations, CEC insisted on recording the ses-         ary 2021, it included a number of predictably unacceptable
sion notwithstanding the Union’s repeated objections and re-            provisions that essentially deprived the Union of its representa-
fusal to acquiesce in it. The Board has long held that that such        tional role. For example, it included a provision (art. X, sec.
conduct “has a tendency to inhibit the free and open discussion         10.2) giving CEC complete discretion to “impose modify or
necessary for conducting successful collective bargaining” and          terminate any or all conditions of employment” and “terminate
is therefore impermissible. Bartlett-Collins Co., 237 NLRB              any . . . benefit or compensation for no reason or for any reason
770, 773 fn. 9 (1978), enfd. 639 F.2d 652 (10th Cir. 1981), cert.       the Cooperative determines to be desirable, with or without
denied 452 U.S. 961 (1981). See also Pennsylvania Telephone             notice or cause.” It also included provisions (art. III, sec. 3.2;
Guild (Bell Telephone), 277 NLRB 501, 501–502 (1985) (ap-               art. VI, sec. 6.1; and art. XI, secs. 11.1 and 11.3) that specifical-
plying the same policy to grievance meetings).                          ly or effectively gave CEC complete discretion over the number
   Martinez testified that CEC insisted on recording the session            49 The General Counsel argues that CEC failed to cloak its bargain-
because “the first several months of our interactions with [Un-
                                                                        ing representatives with sufficient authority at the September 25 ses-
ion Assistant Business Agent] Mark Strand were very hostile,”           sion, citing Martinez’s statement at the meeting that any proposals
and “we felt that . . . recording the sessions would inject civility    would have to be reviewed and approved by CEC’s board of trustees.
into the negotiations” (Tr. 279–280). However, Martinez pro-            However, the GC cites no Board decisions finding that such a statement
vided no details whatsoever regarding the previous interactions         by itself established lack of sufficient authority to engage in meaningful
and his testimony was never corroborated by any other witness           bargaining. Further, Martinez was not a low-level supervisor; he was
or evidence. As previously noted, Attorney Long, who attend-            CEC’s executive VP and general manager. And he was accompanied at
ed the session with Martinez and was the one who previously             the session by both Attorney Long and HR Supervisor Morris. Cf. WR
                                                                        Reserve, 370 NLRB No. 74, slip op. at 1 n. 3 and 5 (2021) (finding bad
   47 CEC does not contend that it was excused from bargaining alto-
                                                                        faith where, among other things, the employer’s sole bargaining repre-
                                                                        sentative was an administrative assistant who admitted at the first bar-
gether due to the pandemic under the “economic exigency” exception      gaining session that she didn’t know why she was there and that she
recognized in RBE Electronics of S.D., 320 NLRB 80, 81 (1995).          couldn’t make any decisions), enfd. sub nom. NLRB v. Noah’s Ark
   48 In re Gabbidon Builders, LLC, 2021 WL 1964544, *4 (W.D. N.C.
                                                                        Processors, LLC, 31 F.4th 1097 (8th Cir. 2022). In any event, given
May 14, 2021) (rejecting debtor’s assertion in bankruptcy proceeding    my findings that CEC’s bad faith is established by other circumstances,
that its poor past performance could be entirely blamed on the COVID-   it is unnecessary to decide whether Martinez’s statement at the initial
19 pandemic).                                                           meeting likewise evidences CEC’s bad faith.
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of hours and days per week and amount of overtime assigned to               It is true, as argued by CEC, that it eventually modified sec-
employees (and thereby over their total compensation), as well           tions 10.2 and 10.4 of its proposed contract. However, CEC
as over layoffs and contracting out unit work.                           did not do so until mid-October, 9 months and seven bargaining
   In addition, although the proposal included a provision (art.         sessions after they were initially proposed. Cf. Houston County
VI, sec. 6.1) indicating that CEC could discipline and discharge         Electric Cooperative, Inc., 285 NLRB 1213, 1214 and fn. 6
employees “for just cause,” another provision (art. X, sec. 10.2,        (1987) (finding that the employer’s proposals were an indicium
above) stated that, “notwithstanding any language in this sec-           of bad faith even though the employer eventually withdrew
tion or elsewhere in the written policies of the Cooperative to          them, given the number of bargaining sessions and amount of
the contrary, . . . to the fullest extent permissible” employment        time required before it did so). See also Continental Insurance
is “at will.”50 As with other terms and conditions of employ-            Co. v. NLRB, 495 F.2d 44, 50 (2d Cir. 1974).
ment, the provision also specifically gave CEC complete dis-                Further, the modifications were predictably inadequate to
cretion to “impose disciplinary sanctions, including discharge           move the parties closer to an agreement. For example, the most
for any . . . reason” CEC determined was in its “best interests”;        significant modification on its face was CEC’s deletion of the
and to “terminate any employment relationship . . . for no rea-          last sentence in section 10.2 giving CEC the right “to impose,
son or for any reason the Cooperative determines to be desira-           modify or terminate any or all conditions of employment and . .
ble, with or without notice or cause.”                                   . terminate any employment relationship, benefit or compensa-
   Further, the proposal contained provisions (art. IX, sec. 9.3;        tion for no reason or any reason the Cooperative determines to
and art. X, sec. 10.4) stating that “any disciplinary action, de-        be desirable, with or without notice or cause.” The actual sig-
motion, suspension or termination shall be deemed final,” and            nificance of this change was limited, however, given the earlier
that the general manager’s decision regarding any grievances             addition of section 3.5, which CEC never withdrew or modified
would likewise be “final and binding.” Thus, the proposal ef-            notwithstanding the Union’s objections; the other provisions
fectively precluded the Union from seeking independent review            that CEC retained in sections 3.2, 6.1, and 10.2 giving it discre-
by an arbitrator of any disciplinary action or other workplace           tion over discipline and discharge, hours of work, overtime,
disputes or disagreements on behalf of the unit employees.               layoffs, and subcontracting; and CEC’s rejection of the Union’s
   The proposal also included a broad no-strike clause that, not         contrary proposals and counterproposals. Cf. Santa Barbara
only barred the Union from calling any strikes or engaging in            News-Press, above (finding bad faith where the employer in-
any picketing, patrolling, or boycotts, but also required it to          sisted on a management rights provision that similarly pre-
“guarantee” that it would “support the Cooperative in maintain-          served all of its “common law rights prerogatives and functions
ing operations in every way possible.” The proposal therefore            to manage the business” as they existed before the union unless
also effectively prevented the Union from utilizing other lawful         expressly and specifically limited by the agreement, and listed
and traditional means to impose economic and public pressure             numerous rights that were not abridged by the agreement).
on CEC with respect to workplace disputes or disagreements.                 Of similar limited effect was CEC’s modification to section
   Moreover, notwithstanding the Union’s objections, CEC                 10.4 regarding grievances. The modification did not add any
continued thereafter to include these provisions in subsequent           provisions for arbitration of disputes under the contract at the
amended proposals. It also added another one. Its amended                final step. Rather, it only added provisions for mediation.
proposal in April added a provision (art. III, sec. 3.5) stating         Further, it provided for mediation only of grievances involving
that CEC also “retained” “all inherent common law manage-                discipline that resulted in leave without pay or termination; it
ment functions and prerogatives which [it] has not waived in             did not provide for mediation of grievances involving any other
this Agreement.”                                                         discipline or disputes. Moreover, it gave CEC discretion not to
   It is well established that an employer’s insistence on such          agree to mediate any discipline involving “grave” offenses.
provisions may evince an intent to avoid or frustrate reaching           According to the “disciplinary matrix” CEC concurrently pro-
an agreement, particularly where, as here, there is also other           posed, this included over 50 types of offenses, including such
indicia of bad faith. See Altura Communications Solutions,               broad categories as “circumventing any company policies or
supra, 369 NLRB No. 85, slip op. at 1–6; Kitsap Tenant Sup-              processes to favor oneself,” “breaching management’s trust,”
port Services, supra, 366 NLRB No. 98, slip op. at 8–10; and             “dishonesty in any form,” “culpable acts or omissions causing
Santa Barbara News-Press, 358 NLRB 1415, 1417–1418,                      damage to the cooperative’s interest,” and “displaying bad
1498–1500 (2012), reconsideration denied 359 NLRB 1110                   manners such as the use of abusive or insulting language.”
(2013), reaffd. and adopted as modified 362 NLRB 252 (2015),             Finally, it required the employee or the Union to pay “any and
enfd. per curiam sub nom. Ampersand Publishing, LLC v.
NLRB, 2017 WL 1314946 (D.C. Cir. March 3, 2017) and cases                provisions also constituted independent 8(a)(5) violations. However,
cited there.51                                                           the General Counsel’s posthearing brief argues only that it evidenced
                                                                         CEC’s bad faith. In any event, I do not find that any of CEC’s pro-
   50 “Employment at will . . . means employees can be discharged for    posals independently violated Section 8(a)(5) of the Act. See Altura
any reason or no reason at any time.” Boeing Co., 365 NLRB No. 154,      Communication Solutions, above, slip op. at 1; and Houston County
slip op. at 10 (2017).                                                   Electric Cooperative, Inc., 285 NLRB 1213, 1215–1216 (1987), and
   51 Compare Coastal Electric Cooperative, 311 NLRB 1126 (1993)         cases cited there. See also George Washington University Hospital,
(finding that employer’s insistence on several such provisions was not   370 NLRB No. 118, slip op. at 6–7 (2021), notice to show cause why
sufficient by itself to establish bad faith bargaining). The complaint   the decision should not be vacated and the case re-adjudicated issued
could be read to allege that CEC’s insistence on the above and other     July 14, 2022.
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all fees incurred” in the mediation and stated that the general              “1%” to “.01%” of the employees’ base wages; and modified
manager’s decision would “remain in effect” if the parties                   article XXIII to reduce the wage increases in the second and
failed to reach agreement.                                                   third year of the contract from two to one percent.
   Martinez testified that the foregoing mediation and matrix                   CEC’s August 6 amended proposed contract likewise includ-
proposals were intended to demonstrate CEC’s willingness to                  ed regressive proposals. It added a new section 3.6 prohibiting
move towards arbitration.52 But a preponderance of the evi-                  either party from engaging in any “subterfuge” to defeat or
dence indicates otherwise. At the August 6 session, CEC said it              evade the terms of the contract; a new section 4.2 prohibiting
was researching mediation as an “alternative” to arbitration, not            the Union or its agents from coercing employees or soliciting
as an additional step towards arbitration. Further, CEC had                  them during their working hours to become union members;
taken shifting positions with respect to arbitration. At the Au-             and a new section 4.3 prohibiting the union and its members
gust 6 session, CEC told the Union that it would “consider”                  from intimidating or coercing employees to become union
agreeing to arbitration. However, at the August 13 session,                  members. It also added a new section 13.2 stating that employ-
CEC told the Union that all discipline “has to” conclude and be              ees who work overtime would not be given time off without
deemed final within the organization; that there was “no way”                pay to equalize overtime.
to conclude the disciplinary process external to the company;                   CEC’s October 1 and 14 amended proposed contracts also
and that if the Union wanted to “appeal” a disciplinary decision             included regressive proposals. The October 1 amended pro-
it could file a charge with the NLRB. Thereafter, at the Octo-               posal modified section 25.5 to reduce the number of CEC-
ber 2 session, CEC stated that it had “looked at arbitration but it          provided flame-retardant shirts and pants from 11 to 9. And, as
would require a matrix of discipline and expanding it because                discussed above, the October 14 amended proposal modified
that would be the expectation of the arbitration.” Yet, on Octo-             section 10.2 and added a disciplinary matrix that vastly in-
ber 14, when CEC proposed such a disciplinary matrix, it cou-                creased the types of offenses previously listed in section 9.2
pled it with mediation rather than arbitration. Further, as dis-             that would warrant immediate discharge. It also added a sen-
cussed below, by predetermining discipline for over 100 of-                  tence in section 10.5 (formerly 10.4) stating that a grievance
fenses, the proposed matrix was more a barrier than a door to                must be filed “within 2 calendar days of the alleged event or
meaningful arbitration.                                                      action that is the basis for the grievance.”
   Considered in the context of the other indicia of CEC’s bad                  The Board has long recognized that making such regressive
faith, these circumstances indicate that, rather than a sincere              proposals may evidence an employer’s bad faith. The Board
move towards arbitration, CEC’s mediation and matrix pro-                    considers the totality of the circumstances, including the par-
posals were simply another tactic to frustrate an agreement. Cf.             ties' bargaining history; the timing of the regressive proposals;
Houston County Electrical Cooperative, 285 NLRB at 1215                      whether the prior proposals had been tentatively agreed to;
(finding that the employer “shift[ed] its positions on grievance-            whether the union had previously made regressive proposals;
arbitration to thwart agreement on that subject”). See also                  whether the employer's bargaining position had strengthened or
Smith's Complete Market, 237 NLRB 1424, 1439 (1978) (find-                   there were changed economic or other circumstances prior to
ing that the employer’s “shift of positions on pensions and                  the regressive proposals; whether the employer explained the
health and welfare were not so much concessions as vac-                      regressive proposals; whether the employer's explanations were
illations having the effect if not the purpose of keeping                    illegitimate, illogical, or unreasonable; whether the regressive
negotiations in a state of disequilibrium”).53                               proposals were the result of a mistake or error that was timely
                                                                             corrected, and other evidence of the employer’s intent. See,
                 5. Making regressive proposals                              e.g., Management & Training Corp., 366 NLRB No. 134, slip
   CEC also proposed a number of specific provisions after the               op. at 4–5 (2018). Kitsap Tenant Support Services, supra, 366
February 26 session that were even less favorable or more re-                NLRB No. 98, slip op. at 8; Whitesell Corp., 357 NLRB 1119
strictive to the Union and the employees than those in CEC’s                 (2011); St. George Warehouse, Inc., 349 NLRB 870, 876–877
initial proposal. For example, CEC’s April 14 amended pro-                   (2007); Mid-Continent Concrete, 336 NLRB 258, 260 (2001),
posed contract modified article V to require a union steward to              enfd. sub nom. NLRB v. Hardesty Co., 308 F.3d 859 (8th Cir.
perform his duties outside of normal working hours; modified                 2002); U.S. Ecology Corp., 331 NLRB 223, 225–226 (2000),
article XXI to lower the cap on CEC’s 401k contributions from                enfd. 26 Fed.Appx. 435 (6th Cir. 2001); National Steel and
                                                                             Shipbuilding Co., 324 NLRB 1031, 1042 (1997); Houston
   52 See Tr. 419–420. Although Martinez initially testified that he
                                                                             County Electrical Cooperative, 285 NLRB at 1215; Rescar,
proposed the matrix with the intent of moving the conversation towards       Inc., 274 NLRB 1, 2 (1985); Pipe Line Development Co., 272
federal “mediation,” his subsequent testimony indicates that this was a      NLRB 48, 49–50 (1984); and Barry-Wehmiller Co., 271 NLRB
misstatement.      And CEC’s posthearing brief (p. 28) implicitly
                                                                             471 (1984).
acknowledges as much.
   53 In reaching this conclusion, I have considered CEC’s subsequent           Here, contrary to the General Counsel’s posthearing brief,
statements at the October 29 and November 20 sessions, after the Un-         the evidence fails to establish that CEC’s April 14 regressive
ion filed its new bad-faith bargaining charge, indicating a willingness to   proposals regarding wage increases and union stewards were
consider arbitration under certain limited circumstances. However, for       proposed in bad faith. The changes were made early in the
the reasons discussed infra, and based on the record as a whole, I find      negotiations (after the February 25 session) and before the Un-
that CEC’s post-charge statements were just more of the same to main-        ion had specifically responded to CEC’s initial proposal on
tain a façade of flexibility.                                                those subjects. Further, CEC’s explanations for the changes—
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anticipated increases in healthcare costs and likely business                 subsequent amended and updated proposals on October 1 and
disruptions and disputes over what constituted a ‘reasonable                  14 and December 3.
and sufficient” time if steward duties were performed during                     Moreover, CEC failed to offer any testimony or other evi-
working hours—were not so unreasonable as to warrant a con-                   dence to corroborate Martinez’s testimony. Although CEC
clusion that they were offered in bad faith.                                  called both HR Supervisor Morris (who was present and took
   The same is true with respect to CEC’s August 6 proposals                  notes at the April 16 and August 13 sessions) and Office Man-
adding sections 3.6, 4.2, 4.3, and 13.2. The Union’s only ob-                 ager Marrufo, (who was likewise present and took notes at the
jection to 3.6 was that it was vague and unnecessary, and CEC                 August 13 session and helped Martinez update the subsequent
gave an example to clarify and justify it. As for the other sec-              amended proposals with highlights) to testify, it never asked
tions, the Union’s objection was that they addressed matters                  them about the matter. See Flexteel Industries, 316 NLRB 745,
already covered under federal law. However, the General                       757–758 (1995) (drawing “the strongest possible adverse infer-
Counsel does not contend that they unlawfully deprived the                    ence” against the respondent for failing to question a favorable
employees or the Union of rights under federal law. Nor does                  witness regarding a factual issue upon which the witness would
the General Counsel cite any prior Board decisions finding bad                likely have knowledge).
faith based on such proposals.                                                   I therefore find that the truth is the opposite; that CEC made
   The record also fails to establish that CEC’s October 1 re-                a deliberate decision not to put “1%” back in. See Ozark Au-
duction in the number of CEC-provided flame-retardant shirts                  tomotive Distributors, Inc. v. NLRB, 779 F.3d 576, 585 (D.C.
and pants was made in bad faith. CEC had previously notified                  Cir. 2015); and NLRB v. Howell Chevrolet, 204 F.2d 79, 86
the Union on August 7 that this modification was going to be                  (9th Cir.) affd. 346 U.S. 482 (1953) (where witnesses are dis-
made, and its explanation (that it had a new laundry service and              credited, the trier of fact may find, not only that their testimony
wanted to reduce the number under the new service contract to                 was untrue, but that the truth is the opposite of their testimony).
reflect that employees were now working only 4days per week)                  Given CEC’s failure to explain this decision, I also infer and
was not unreasonable.55                                                       find, based on the record as a whole, that CEC did so in bad
   However, a different conclusion is warranted with respect to               faith and to frustrate any agreement.
the remaining three regressive proposals.                                        October 14 addition of new disciplinary matrix. As indicat-
   April 14 change capping CEC’s 401k contributions at                        ed above, CEC’s new disciplinary matrix listed over 50 “grave”
“.01%” of base wages. Martinez, who drafted the April 14                      offenses that would result in immediate termination, almost
changes, testified that he told the Union that this change was                triple the number specially listed in sections 9.1 and 9.2 of its
meant only to convert the cap from a percentage (1%) to a dec-                previous proposals. It also predetermined discipline for over 50
imal (.01), but that he inadvertently failed to cross out the per-            “serious,” “moderate,” and “light” offenses. Further, as dis-
centage sign, and that he would fix it. (Tr. 376–377, 388.) This              cussed above, Martinez’s testimony that the matrix was pro-
testimony is generally supported by the April 16 and August 13                posed as part of CEC’s attempt to move towards arbitration is
bargaining notes taken by HR Supervisor Morris and Office                     contrary to a preponderance of the evidence. Indeed, as indi-
Manager Marrufo, which indicate that Martinez insisted there                  cated by the General Counsel, by setting forth predetermined
was no actual change, told the Union to “Google it,” and of-                  discipline for over 100 offenses, and considered in combination
fered at the August 13 session to put “1%” back in “to make it                with other provisions giving CEC discretion to discharge em-
clear.”56                                                                     ployees at will, the matrix would have largely rendered arbitra-
   However, that was not the end of the matter. CEC never ac-                 tion meaningless. Cf. Regency Service Carts, 345 NLRB at
tually put “1%” back in. Nor did it take out the percentage sign              675 (finding bad faith in part because the employer’s proposed
after the decimal. Martinez testified that the failure to do so               management rights clause rendered meaningless the proposed
was just an “oversight on our part.” But this strains credulity               grievance and arbitration clause).
too far. The Union had twice objected to the April 14 modifi-                    October 14 requirement that grievances be filed within two
cation, on April 16 and August 13. Martinez had personally                    calendar days. The Union’s initial, September 25, 2020 pro-
indicated on August 13 that he would correct it. And he had at                posal stated that grievances must be submitted in writing within
least three ready opportunities to do so when CEC submitted its               15 calendar days from the date the grievance or difference be-
                                                                              comes apparent. CEC’s initial, February 26, 2021 proposal
   55 Strand testified that he requested a copy of the service contract,      countered this by proposing just “two workdays” after the oc-
but CEC never provided it (Tr. 95). However, the complaint does not           currence or denial by the supervisor. Unsurprisingly, the Union
allege that CEC’s failure to do so was unlawful.                              objected to such a short deadline at the parties’ next session on
   56 The General Counsel’s posthearing brief questions Martinez’s ex-
                                                                              April 16, arguing that, coupled with CEC’s other proposals
planation, arguing that there is no apparent reason why Martinez would
                                                                              allowing only one steward to service both locations and only
change the percentage to a decimal, and that he did not change the
“18%” cap on retirement contributions in the previous subsection.             during nonworking hours, the time limit would make pro-
However, there is also no apparent reason why he would have justified         cessing grievances administratively impossible.
the change on this ground if it was untrue, as it would raise an expecta-        Nevertheless, as indicated above, 6 months later, on October
tion that the change would be corrected. He could well have offered           14, CEC proposed an even narrower time limitation of just “2
the same economic justification he offered for lowering wage increases        calendar days” after the alleged event or action that is the basis
(to offset anticipated increases in healthcare costs), in which event there   of the grievance. This was obviously an even more objectiona-
would be no such expectation.                                                 ble proposal, not only because it was a shorter time limit, but
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also because the linemen regularly worked only 4 days a week.        fused to provide the Union with requested information about
And CEC offered no explanation for it. Thus, again, like the         the Cooperative’s use of contractors to perform unit work,
matrix, it appears to have been proposed to create yet another       which the Union sought because it was relevant to the parties’
barrier to reaching an agreement.                                    ongoing negotiations over wages and management rights.
         6. Making and failing to revise inconsistent and               April and July 2020 requests for disciplinary records. It is
                        incorrect proposals                          well established that an employer must bargain on request with
                                                                     a newly certified union, not only over an initial contract, but
   As discussed above, CEC’s proposals contained several in-         also over particular matters that arise affecting the unit employ-
consistent provisions. For example, Section 6.1 said CEC could       ees’ terms and conditions of employment, including the em-
discharge employees for “just cause,” but other provisions,          ployer’s discharge or discipline of a unit employee. See
which CEC never withdrew, indicated that, notwithstanding            Fallbrook Hospital, 360 NLRB 644, 654–655 (2014), enfd. 785
this language, CEC could discipline and discharge employees at       F.3d 729 (D.C. Cir. 2015). As part of that obligation, the em-
will for any reason it determined to be in its best interests. And   ployer must timely provide the union with requested relevant
CEC’s proposed matrix said a first “serious” offense would be
                                                                     information. Ibid. CEC was therefore obligated to provide the
punished by four days suspension without pay, but Section 9.2        information requested by the Union in April and July 2020
said any “serious” infraction would result in immediate termi-       relevant to the discipline and discharge of unit employees, in-
nation.                                                              cluding the documentation CEC relied on and records of similar
   CEC also repeatedly prepared inaccurate updates on the sta-       and other discipline CEC issued to other unit employees.
tus of the parties’ negotiations. For example, CEC’s own bar-           The Union’s requests also sought records of discipline issued
gaining notes from the August 13 session indicated that the          to nonunit employees. And, unlike information about unit em-
Union specifically objected to section 9.3, which stated that any    ployees, information regarding nonunit employees is not pre-
discipline or discharge “shall be deemed final.” Nevertheless,
                                                                     sumptively relevant. Thus, a union must demonstrate the rele-
CEC’s subsequent October 1 amended proposal highlighted the          vance, or the relevance must be apparent under the circum-
section in yellow to indicate the Union had agreed to it. So did     stances. Disneyland Park, 350 NLRB 1256, 1257–1258
its October 14 and later amended proposals, even though              (2007). In this instance, the relevance was both demonstrated
CEC’s bargaining notes indicated that the Union specifically         and apparent. The Union indicated it was seeking the infor-
objected to the yellow highlighting at the October 2 session.        mation to bargain or file grievances over the discharge or disci-
CEC’s October 1 amended proposal also inaccurately struck            pline of the unit employees. And “[i]t is well established that
through the Union’s proposed articles on union representation        nonunit information may be relevant to show disparate treat-
and seniority in the Union’s table of contents to indicate that
                                                                     ment in the application of work rules.” FCA US LLC, 371
the Union had agreed they were permissive and would be with-         NLRB No. 32, slip op. at 2 (2021).
drawn, even though the Union had never done so. When the                In any event, even assuming the Union’s requests were over-
Union on October 2 specifically objected to striking through the     broad to the extent they requested disciplinary records involv-
union representation article, CEC said it would highlight it in      ing nonunit employees, this did not excuse CEC’s refusal to
grey to indicate it had been discussed but not agreed to. How-       provide the disciplinary records of unit employees. An em-
ever, its December 3 amended proposal again struck through           ployer may not simply refuse to comply with an overbroad
the article on the Union’s table of contents without any grey        information request but must comply to the extent it encom-
highlighting.                                                        passes relevant and necessary information. See American Med-
   This was obviously not conduct conducive to building trust
                                                                     ical Response of Connecticut, Inc., 371 NLRB No. 106, slip op.
and reaching agreement. Like CEC’s shifting positions on             at 1 fn. 4 (2022); and Rockwell Mining LLC, 367 NLRB No.
arbitration, its inconsistent proposals on discipline were likely    46, slip op. at 4 (2018), enfd. 786 Fed.Appx. 268 (D.C. Cir.
to “keep negotiations in a state of disequilibrium” (Smith's         2019), and cases cited there.
Complete Market, supra). And its repeated inaccuracies were             CEC’s refusal to provide any of the requested information is
also likely to create confusion and delay. Further, as with          therefore additional evidence of its bad faith. Although the
CEC’s failure to change the cap on 401k contributions back to        Union did not request the disciplinary records for use in the
“1%,” it is unlikely this conduct was entirely inadvertent. Giv-     contract negotiations, the Board considers conduct both at and
en all of the other circumstances indicating CEC’s bad faith, it     away from the bargaining table in evaluating whether an em-
is therefore reasonable to conclude that it was not, and that it     ployer violated its duty to bargain in good faith. Hilton Anchor-
was likewise intended to frustrate any agreement.                    age, 370 NLRB No. 83, slip op. at 2 (2021). See also Allied
          7. Refusing to provide requested information               Mechanical Services, Inc., 332 NLRB 1600 (2001). Here,
   CEC timely provided the Union with information regarding          CEC’s refusal to provide such information is further circum-
the unit employees’ current terms and conditions of employ-          stantial evidence that its contract proposals on those subjects
ment in response to the Union’s initial request in March 2020.       were intended to frustrate an agreement. See generally Conti-
However, in April and July, CEC refused to provide the Union         nental Insurance Co. v. NLRB, 495 F.2d at 48 (“[M]otive must
with requested disciplinary records, which the Union sought in       of necessity be ascertained from circumstantial evidence . . .
order to bargain and/or file grievances through CEC’s existing       Specific conduct, while it may not, standing alone, amount to a
process over the recent discipline or discharge of certain em-       per se failure to bargain in good faith, may when considered
ployees. And the following year, in October 2021, CEC re-            with all of the other evidence, support an inference of bad
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faith.”).                                                                information was relevant to the parties’ contract negotiations
   October 2021 request for subcontracting information. There            regarding both the unit employees’ wages and CEC’s manage-
are at least two situations where an employer may be required            ment rights proposal.
during contract negotiations to provide a union with requested              These circumstances were sufficient under the above-
information regarding subcontractors, including their identity,          described Board precedent to trigger CEC’s duty to provide the
number, classifications, and wages. One is where the union               requested information. Further, CEC has not proffered any
seeks the information to evaluate whether unit work and wages            reason justifying its failure and refusal to do so. Although CEC
could be increased by eliminating or reducing the use of such            asserted at the October 2 session that it did not have access to
contract workers. See Putnam Ridge Nursing Home, 369                     the contract workers’ wage rates (an assertion repeated in
NLRB No. 28, slip op. at 21 (2020); and Castle Hill Health               CEC’s posthearing brief), there is no evidence that CEC ever
Care Center, 355 NLRB 1156, 1182 (2010). Another is where                asked the contractors for the information. CEC has therefore
the union seeks the information to evaluate the extent of sub-           failed to carry its burden of demonstrating that the wage rate
contracted work covered by a management rights proposal and              information was unavailable. See Sho-Me Power Electric Co-
intelligently bargain over that subject. See DirectSat USA, LLC,         operative, 360 NLRB 349, 355 (2014); and Public Service Co.
366 NLRB No. 40, slip op. at 2 (2018); Galaxy Towers Con-                of Colorado, 301 NLRB 238, 246–247 (1991), and cases cited
dominium, 361 NLRB 364 n. 4 (2014); and Western Massachu-                there.
setts Electric Co., 228 NLRB 607, 622–623 (1977), enfd. in                  Accordingly, I find that CEC unlawfully refused to provide
relevant part 573 F.2d 101, 107 (1st Cir. 1978).57                       the requested subcontracting information to the Union, as al-
   As contract workers are not unit employees, however, as in-           leged. I also find that its refusal to do so is additional evidence
dicated above the union must offer a reasonable explanation              of its intent to avoid reaching any agreement with the Union.
based on objective evidence why such information is relevant,            See generally Regency Service Carts, 345 NLRB at 675 (“The
or the relevance must be apparent under the circumstances. See           refusal to provide without undue delay requested information
Disneyland Park, above. See also Galaxy Towers Condomini-                which is relevant to the Union’s efforts at negotiating a contract
um, 361 NLRB 364 fn. 4 (2014); and Richmond Health Care,                 is an indicium of surface bargaining”), and cases cited there.
332 NLRB 1304 fn. 1 (2000). Similarly, if the union requests                                      8. Other conduct
financial information regarding the cost of subcontracting the
unit work, the union must demonstrate a specific need for that              The General Counsel alleges or argues that various other
information. See Western Massachusetts Electric Co., 228                 conduct is also evidence of CEC’s bad faith. However, unlike
NLRB 607, 622–623 (1977), enfd. in relevant part 573 F.2d                those discussed above, these allegations or arguments are not
                                                                         well supported.
101, 107 (1st Cir. 1978). See also West Penn Power Co. v.
NLRB, 394 F.3d 233 (4th Cir. 2005), on remand 346 NLRB                      For example, as previously noted (fn. 49), the record does
425, 428 (2006).                                                         not support the General Counsel’s argument that CEC failed to
   Here, the relevance of and need for the requested subcon-             cloak its bargaining representatives with sufficient authority at
tracting information was again both demonstrated and apparent.           the September 25 session. Nor does the evidence support the
The Union first raised concerns about CEC’s use of contractors           General Counsel’s allegation and argument that CEC insisted
to perform unit work at the October 2 session, saying that the           on bargaining based only on its own proposals and refused to
Union had been told the contract workers were being paid more            give its position on the Union’s proposals.
than the unit employees. CEC confirmed that it was using con-               The General Counsel also argues that CEC’s bad faith is evi-
                                                                         denced by its refusal to allow Munoz unpaid time off to attend
tract workers (and also later admitted at the November 20 ses-
sion that using them cost CEC more). CEC asserted that it used           the bargaining sessions, thereby delaying the negotiations.58
the contractors to perform incremental, short-term work and              However, the GC does not allege that CEC’s refusal to grant
that there was not enough such work to justify hiring additional         Munoz unpaid time off was unlawful. And Board and court
full-time unit employees to do it. Accordingly, 2 days later, the        decisions would not support such an allegation, as CEC offered
Union requested CEC to provide “the number, classification               a reasonable justification for its refusal to do so and agreed to
and wage rates each of the contractors are filling that involves         bargain on Munoz’s day off (Friday) and on weekends. See
work being done that was formerly performed by unit employ-              Ceridian Corporation v. NLRB, 435 F.3d 352 (D.C. Cir. 2006),
ees,” “the business name of these contractors” and the number            and cases cited there. For the same reason, I find that it is not
of their employees “they have performing the work.” The Un-              evidence of bad faith.
ion explained that it was requesting this information because of            The General Counsel also argues that CEC’s bad faith is evi-
the reports it received that CEC was using contract workers to           denced by its refusal to participate in mediation through the
perform certain unit work at higher wage rates, and because the          FMCS after the parties declared impasse on December 4, 2021.
                                                                         However, again, the GC does not allege that CEC’s refusal to
   57 Proposals on subcontracting of unit work are a mandatory subject   do so was unlawful. And Board precedent likewise would not
of bargaining. Presbyterian University Hospital, 320 NLRB 122 fn. 2      support such an allegation. See Midas International Corp., 150
(1995). This is so even if the employer previously subcontracted unit
                                                                            58 The General Counsel does not allege or argue that CEC otherwise
work, as it affects the unit employees’ terms and conditions of em-
ployment by reducing the amount of unit work. See WCCO-TV, 362           failed or refused to schedule bargaining sessions or to meet and bargain
NLRB 859, 860 (2015).                                                    with the Union after the January 2021 settlement of the Union’s previ-
                                                                         ous charges.
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NLRB 486, 487 (1964) (“The Act does not, under pain of an              including articles I (statement of agreement), VIII (light duty),
8(a)(5) violation, impose acceptance of mediation as a neces-          XIV (on call pay and call out pay), XV (EEO), XVII (employee
sary element of good-faith bargaining.”). See also Success             travel expenses), XVIII (paid time off), XIX (inclement weath-
Village Apartments, Inc., 347 NLRB 1065, 1068 (2006) (the              er), XXII (CDL), and XXXI (strikes, stoppages, and lockouts),
use of mediation as a bargaining process is a permissive subject       and several sections in article XXV (safety). The Union also
of bargaining). Further, while the refusal to mediate might be         offered significant compromises on several articles/subjects,
evidence of bad faith “in the proper context” (Midas Interna-          including the term of agreement, union representation/stewards,
tional, above), the GC cites no prior case finding it to be such       and wages. The Union even agreed to withdraw its dues
evidence in circumstances similar or analogous to those present        checkoff proposal after CEC asserted that it was a permissive
here.                                                                  subject.59 In contrast, CEC did not agree to any of the Union’s
   As for CEC, it argues that other conduct establishes its good       proposed articles except a few that its initial proposed contract
faith. For example, it complied with the Union’s initial request       had incorporated from CEC’s employee manual.
for information concerning the unit employees’ terms and con-             Nor did CEC agree to compromise in a meaningful way on
ditions of employment; proposed dates to meet for negotiations         any of its own proposals and amended proposals in response to
after the January 2021 settlement and met with the Union on 11         the Union’s objections, counterproposals, and compromises.
occasions over the next 11 months, including on weekends; and          As discussed above, CEC agreed on October 14 to drop the last
denied that its proposed contract was a “take it all or leave it all   sentence in section 10.2 regarding its unfettered right to termi-
proposal” and invited the Union to make counterproposals.              nate any employee or modify or terminate any benefit or com-
However, I reject this argument as well. While not insignifi-          pensation or condition of employment. And it previously
cant, such actions are insufficient to outweigh the numerous           agreed on August 6 to delete the last sentence in section 16.1
and compelling indicia of CEC’s bad faith discussed above.             regarding its unfettered right to terminate an employee at the
Cf. Altura Communications, supra, 369 NLRB No. 85, slip op.            end of the introductory period. However, CEC continued to
at 37 (finding that the employer bargained in bad faith even           insist on including other provisions in sections 3.2, 3.5, 6.1, and
though it attended bargaining sessions and provided requested          10.2 to the same effect. Similarly, CEC agreed on October 14
information); and Sunbelt Rentals, 370 NLRB No. 102, slip op           to drop the sentence in section 10.4 limiting any “informal dis-
at 3–4 (2021) (finding unlawful surface bargaining even though         cussions” at the first step of the internal grievance process to
“not all of the [employer’s] bargaining conduct demonstrated           “the end of the workday.” However, it simultaneously added
bad faith,” as a preponderance of the evidence indicated that the      another significant restriction requiring any grievance to be
employer was “merely going through the motions of collective           filed “within 2 calendar days.”
bargaining and had no real intention of reaching agreement”).             Moreover, CEC repeatedly demonstrated its continuing bad
See also Hilton Anchorage, supra, 370 NLRB No. 83, slip op.            faith during this period. As discussed above, it proposed pre-
at 2 (the obligation to bargain in good faith is “not fulfilled by     dictably unacceptable provisions that deprived the Union of its
‘purely formal meetings,” but also requires “a serious attempt         representational role; made regressive, inconsistent, and incor-
to resolve differences and reach a common ground.”), quoting           rect proposals and failed to revise them; and refused to provide
NLRB v. Insurance Agents' International Union, 361 U.S. 477,           the Union with requested subcontracting information relevant
485-486 (1960); RBE Electronics of S.D., Inc., 320 NLRB 80,            to the parties’ negotiations over wages and management rights.
88 (1995) (“Mere willingness to talk does not constitute a will-          Finally, Martinez’ statements at the penultimate November
ingness to bargain collectively”); and NLRB v. Herman Sau-             20 session offered little reason to believe that countering CEC’s
sage Co, 275 F.2d, 229, 231–232 (5th Cir 1960) (“[T]o sit at a         matrix would be fruitful. Martinez testified that he encouraged
bargaining table, or to sit almost forever, or to make conces-         the Union to submit a counterproposal. Specifically, he testi-
sions here and there, could be the very means by which to con-         fied that when Strand stated at the session that he would pre-
ceal a purposeful strategy to make bargaining futile or fail”).        pare a counter with a less expansive matrix, he responded,
   Finally, I also reject CEC’s argument that the Union failed to      “Good, now I think we’re making progress” (Tr. 425). Howev-
sufficiently test its willingness to bargain by submitting coun-       er, this is not corroborated by Office Manager Marrufo’s bar-
terproposals on management rights, discipline, discharge,              gaining notes. Her notes indicate that Martinez responded by
grievances, and the matrix after the October 14 session. In            repeating that there needed to be “sufficient clarity in the con-
support of this argument, CEC cites PSAV Presentation Ser-             tract” “to get where you want to go, which is binding arbitra-
vices, 367 NLRB No. 103 (2019), affd. sub nom. Theatrical              tion.” And he then added another limitation: there could be no
Stage Employees Local 15 v. NLRB, 957 F.3d 1006 (9th Cir.              arbitration of “lower level discipline.”
2020). However, that case is factually distinguishable. There,            Accordingly, for all the foregoing reasons, I find that CEC
the parties had met only five times over 8 months, the employer        unlawfully bargained in bad faith with no intention of reaching
had made concessions and tentatively agreed to several provi-
sions during that time, and the Board found that there was little         59 As previously noted, CEC’s assertion was incorrect. However, the

evidence that it had bargained in bad faith.                           General Counsel does not allege or argue that CEC’s refusal to bargain
   The circumstances here are significantly different. As indi-        over or agree to dues checkoff is additional evidence of bad faith. Cf.
cated above, the parties met 11 times over 11 months after the         Sunbelt Rentals, Inc., 370 NLRB No. 102, slip op. at 3 and fn. 11
                                                                       (2021) (finding that employer’s unexplained opposition to dues
January 2021 settlement of the Union’s charges. During that
                                                                       checkoff was additional evidence of surface bargaining).
time, the Union agreed to several of CEC’s proposed articles,
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                                                 COLUMBUS ELECTRIC COOPERATIVE, INC.                                                           27

an agreement, as alleged.                                                                                 ORDER
                       CONCLUSIONS OF LAW                                     The Respondent, Columbus Electric Cooperative, Inc., Dem-
   1. Since April 22, 2021, CEC has failed and refused to bar-             ing and Animas, New Mexico, its officers, agents, successors,
gain in good faith with the Union over a first contract in viola-          and assigns, shall
tion of Section 8(a)(5) and (1) of the Act.                                   1. Cease and desist from the following conduct.
   2. Since October 4, 2021, CEC has failed and refused to pro-               (a) Failing and refusing to bargain in good faith with Inter-
vide relevant and necessary information requested by the Union             national Brotherhood of Electrical Workers, Local 611, AFL–
regarding the number, classification, and wage rates of contrac-           CIO as the exclusive collective-bargaining representative of the
tors performing unit work, the business name of those contrac-             full-time and regular part-time apprentice and journeyman
tors, and the number of their employees performing the unit                lineman employed by the Cooperative.
work, in violation of Section 8(a)(5) and (1) of the Act.                     (b) and refusing to provide the Union with requested infor-
   3. CEC’s foregoing unfair labor practices affect commerce               mation that is relevant and necessary to its role as the unit em-
within the meaning of Section 2(6) and (7) of the Act.                     ployees’ exclusive collective-bargaining representative.
                                                                              (c) In any like or related manner interfering with, restrain-
                               REMEDY                                      ing, or coercing employees in the exercise of the rights guaran-
   CEC will be ordered to cease and desist its unlawful conduct            teed them by Section 7 of the Act.
and to take certain affirmative action designed to effectuate the             2. Take the following affirmative action necessary to effec-
policies of the Act. Specifically, CEC will be ordered to bar-             tuate the policies of the Act.
gain in good faith with the Union and, if an agreement is                     (a) On request, bargain in good faith with the Union as the
reached, embody that agreement in a signed contract. In addi-              exclusive collective-bargaining representative of the unit em-
tion, CEC shall be required to: (1) submit written progress re-            ployees concerning terms and conditions of employment and, if
ports to the NLRB Region 28 compliance officer, with service               an understanding is reached, embody the understanding in a
on the Union, every 30 calendar days until an agreement or                 signed agreement.
good faith impasse is reached; and (2) compensate the Union                   (b) Submit written bargaining progress reports every 30
for all bargaining expenses it has incurred from April 22, 2021            days to the NLRB Region 28 compliance officer, with service
through the date good faith negotiations ultimately begin. As              on the Union, until an agreement or good faith impasse is
indicated by the General Counsel, these two additional reme-               reached.
dies are warranted here given the extent of CEC’s bad -faith                  (c) Compensate the Union for all bargaining expenses it has
conduct, both before and after the January 2021 settlement, in             incurred from April 22, 2021, through the date that good faith
disregard of well-established Board law, and the substantial               negotiations ultimately begin. Upon receipt of a verified state-
time and resources the Union expended attempting to engage                 ment of costs and expenses from the Union, the Respondent
CEC in good faith negotiations. See KOIN-TV, 371 NLRB No.                  shall promptly submit a reimbursement payment in the stated
118, slip op. at 2–3 (2022); and WR Reserve, 370 NLRB No.                  amount to the NLRB Region 28 compliance officer, who will
74, slip op. at 4–5 (2021), enfd. sub nom. NLRB v. Noah’s Ark              document receipt and forward the payment to the Union.
Processors LLC, 31 F.4th 1097 (8th Cir. 2022), and cases cited                (d) Provide the Union with the information it requested on
there.60 CEC shall also be required to provide the Union with              October 4, 2021, regarding the use of contractors to perform
the information it requested on October 4 regarding the use of             unit work.
contractors to perform unit work. Finally, CEC will be re-                    (e) Post at its Deming and Animas facilities copies of the at-
quired to post a notice to employees advising them of the                  tached notice marked “Appendix.” Copies of the notice, on
Board’s decision.                                                          forms provided by the Regional Director for Region 28, after
                                                                           being signed by the Respondent's authorized representative,
   60 The General Counsel also requests that CEC be required to: (1)       shall be posted by the Respondent and maintained for 60 con-
meet and bargain for a minimum of 16 hours per week; and (2) engage        secutive days in conspicuous places, including all places where
an FMCS mediator at the Union’s request. However, as previously            notices to employees are customarily posted. In addition to
discussed, there is no allegation that CEC has been dilatory in schedul-   physical posting of paper notices, notices shall be distributed
ing meetings with the Union since January 2021, and I have rejected        electronically, such as by email, posting on an intranet or an
the GC’s contention that CEC’s refusal to give Munoz unpaid time off       internet site, and/or other electronic means, if the Respondent
to bargain evidenced bad faith. As for requiring CEC to engage a me-
diator, it appears that such a remedy has not yet been embraced by a
                                                                           customarily communicates with its employees by such means.
Board majority. See Member Prouty’s concurring footnote in KOIN-           The Respondent shall take reasonable steps to ensure that the
TV, above, slip op at 4 fn. 7 (stating that he would have additionally     notices are not altered, defaced, or covered by any other mate-
authorized the Regional Director, at the union’s request, to appoint a     rial. If the Respondent has gone out of business or closed a
mediator from a list of those qualified on an ABA panel for the Re-        facility involved in this proceeding, the Respondent shall dupli-
gional Office area) citing Altofer Machinery Co., 332 NLRB 130, 131        cate and mail, at its own expense, a copy of the notice to all
(2000) (Member Hurtgen concurring in part), and Mid-Continent Con-         current employees and former employees employed by the
crete, 336 NLRB at 263 (2001) (Chairman Hurtgen, concurring in             Respondent at that facility at any time since April 22, 2021.61
part)).
                                                                              61 If a facility involved in this proceeding is open and staffed by a

                                                                           substantial complement of employees, the notice must be posted within
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  (f) Within 21 days after service by the Region, file with the               of the full-time and regular part-time apprentice and journey-
Regional Director a sworn certification of a responsible official             man lineman employed by us.
on a form provided by the Region attesting to the steps that the                 WE WILL NOT fail or refuse to provide the Union with re-
Respondent has taken to comply.                                               quested information that is relevant and necessary to its role as
  Dated, Washington, D.C., September 19, 2022                                 the exclusive collective-bargaining representative of the unit
                              APPENDIX                                        employees.
                                                                                 WE WILL NOT in any like or related manner interfere with, re-
                     NOTICE TO EMPLOYEES                                      strain, or coerce you in the exercise of the rights guaranteed
                    POSTED BY ORDER OF THE                                    you by Section 7 of the Act.
               NATIONAL LABOR RELATIONS BOARD                                    WE WILL, on request, bargain in good faith with the Union as
            An Agency of the United States Government                         the exclusive collective-bargaining representative of the unit
The National Labor Relations Board has found that we                          employees concerning terms and conditions of employment
violated Federal labor law and has ordered us to post and                     and, if an understanding is reached, embody the understanding
                                                                              in a signed agreement.
obey this notice.
                                                                                 WE WILL submit written bargaining progress reports every 30
        FEDERAL LAW GIVES YOU THE RIGHT TO                                    days to the NLRB Region 28 compliance officer, with service
         Form, join, or assist a union                                        on the Union, until an agreement or good faith impasse is
         Choose representatives to bargain with us on your be-                reached.
     half                                                                        WE WILL compensate the Union for all bargaining expenses it
         Act together with other employees for your benefit and               has incurred from April 22, 2021, through the date that good
     protection                                                               faith negotiations ultimately begin.
         Choose not to engage in any of these protected activi-                  WE WILL provide the Union with the information it requested
     ties.                                                                    on October 4, 2021, regarding the use of contractors to perform
                                                                              unit work.
   WE WILL NOT fail or refuse to bargain in good faith with In-
                                                                                            COLUMBUS ELECTRIC COOPERATIVE, INC.
ternational Brotherhood of Electrical Workers, Local 611,
AFL–CIO as the exclusive collective-bargaining representative                    The Board's decision can be found at www.nlrb.gov/case/28-
                                                                              CA-285046 or by using the QR code below. Alternatively, you
14 days after service by the Region. If the facility is closed or not         can obtain a copy of the decision from the Executive Secretary,
staffed by a substantial complement of employees due to the Corona-           National Labor Relations Board, 1015 Half Street, S.E., Wash-
virus Disease 2019 (COVID-19) pandemic, the notice must be posted             ington, D.C. 20570, or by calling (202) 273-1940.
within 14 days after the facility reopens and a substantial complement
of employees have returned to work. If, while closed or not staffed by
a substantial complement of employees due to the pandemic, the Re-
spondent is communicating with its employees by electronic means, the
notice must also be posted by such electronic means within 14 days
after service by the Region. If the notice to be physically posted was
posted electronically more than 60 days before physical posting of the
notice, the notice shall state at the bottom that “This notice is the same
notice previously [sent or posted] electronically on [date].” If this Order
is enforced by a judgment of a United States court of appeals, the words
in the notice reading “Posted by Order of the National Labor Relations
Board” shall read “Posted Pursuant to a Judgment of the United States
Court of Appeals Enforcing an Order of the National Labor Relations
Board.”
